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12

13                                 UNITED STATES DISTRICT COURT
14                                     DISTRICT OF NEVADA
15

16   SWITCH, LTD., a Nevada limited liability       Case No. 2:17-cv-02651-GMN-EJY
     company,
17                                                  DECLARATION OF MICHAEL A. BERTA
                      Plaintiff,                    IN SUPPORT OF JONES LANGE
18                                                  LASALLE, INC.’S OPPOSITION TO
           vs.                                      PLAINTIFF SWITCH, LTD.’S MOTION
19                                                  TO COMPEL THIRD PARTY JONES
     STEPHEN FAIRFAX; MTECHNOLOGY;                  LANG LASALLE TO PROVIDE
20                                                  REQUESTED DOCUMENTS
     and DOES 1 through 10; ROE ENTITIES 11
21   through 20, inclusive,
                      Defendants.
22

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     BERTA DECL. ISO OF JLL INC.’S OPP. TO SWITCH MOT. TO COMPEL        No. 2:17-cv-02651-GMN-EJY
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 1          I, Michael Berta, declare as follows:

 2                  I am an attorney at Arnold & Porter Kaye Scholer LLP (“Arnold & Porter”) and am

 3   licensed to practice law in California. My Verified Petition to practice before this Court is

 4   forthcoming, and I will be practicing in Nevada under the supervision of local counsel William

 5   Urga, a good-standing member of the Nevada State Bar. I am counsel for third party Jones Lang

 6   Lasalle Inc. (“JLL Inc.”) in this matter. I have personal knowledge of the facts stated herein, and I

 7   make this declaration in support of Jones Lang LaSalle, Inc.’s Opposition to Switch, Ltd.’s Motion

 8   to Compel Documents (the “Motion”).

 9                  A true and correct copy of Plaintiff’s Complaint for Patent Infringement in Case No.

10   2:17-cv-00574 (E.D. Tex.) (the “Patent Action”) is attached hereto as Exhibit A.

11                  A true and correct copy of Defendant Aligned Data Centers, LLC’s Answer to

12   Plaintiff’s Complaint for Patent Infringement and Counterclaims in the Patent Action is attached

13   hereto as Exhibit B.

14                  A true and correct copy of an Order n dated July 9, 2018 dismissing all claims with

15   prejudice in the Patent Action is attached hereto as Exhibit C.

16                  A true and correct copy of a print-out of the LinkedIn profile for Sam Castor,

17   Executive Vice President of Policy at Switch and counsel of record in this action, which was

18   retrieved at my direction on April 2, 2020 from https://www.linkedin.com/in/samcastor/ is attached

19   hereto as Exhibit D.

20                  A true and correct copy of Defendants’ Request for a Pretrial Conference and

21   Submission of Protective Order in the present action (Dkt. No. 48) is attached hereto as Exhibit E.

22                  A true and correct copy of the Declaration Of Ronald D. Green In Support Of

23   Defendants’ Request For A Pretrial Conference And Submission Of Proposed Protective Order in

24   the present action (Dkt. No. 48-2) is attached hereto as Exhibit F.

25                  A true and correct copy of Non-party Jones Lang Lasalle Incorporated’s Objections

26   To Subpoena To Produce Documents, Information, Or Objects Or Permit Inspection of Premises In

27   A Civil Case served on September 29, 2019, pursuant to the agreement of the parties is attached

28   hereto as Exhibit G.

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     BERTA DECL. ISO OF JLL INC.’S OPP. TO SWITCH MOT. TO COMPEL                   No. 2:17-cv-02651-GMN-EJY
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 1                  In October 2019, I participated in a telephonic meet and confer with Sam Castor

 2   about JLL Inc.’s Objections to Switch’s Subpoena. During that call, Mr. Castor stated that a

 3   purpose of the Subpoena was to seek evidence because he believed that JLL Inc. could be liable for

 4   “contributory patent infringement.”

 5                  From October 30, 2019 to November 4, 2019, counsel for the parties exchanged a

 6   series of emails following up on the telephonic meet and confer. The final email in that exchange

 7   was an email from my colleague Joseph Farris to Mr. Castor on November 4, 2019 at 3:47pm. Mr.

 8   Castor did not respond to that email. A true and correct copy of that email exchange is attached

 9   hereto as Exhibit H.

10                  JLL Inc. did not hear from Switch about the Subpoena again until March 13, 2020,

11   when a paralegal working under the direction of Switch’s counsel emailed JLL Inc. and stated that

12   Switch intended to file the Motion to Compel on March 17, 2020, and provided a draft of the

13   Motion to Compel for the first time.

14                  Attached hereto as Exhibit I is a true and correct copy of a March 18, 2020 letter

15   that I sent to Switch’s counsel Sam Castor on in response to Switch’s March 13, 2020 email.

16                  Attached hereto as Exhibit J is a true and correct copy of email correspondence

17   between counsel for Switch and JLL Inc. from March 13, 2020 to March 20, 2020.

18

19          I declare under penalty of perjury under the laws of the United States of America that the

20   foregoing is true and correct to the best of my knowledge.

21          Executed this 9th day of April, 2020, in Orinda, California.

22

23                                                                    /s/ Michael Berta
                                                                    MICHAEL A. BERTA
24

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     BERTA DECL. ISO OF JLL INC.’S OPP. TO SWITCH MOT. TO COMPEL                  No. 2:17-cv-02651-GMN-EJY
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 SWITCH, LTD.,                                     §
                                                   §
          Plaintiff,                               §
                                                   §
 v.                                                §            Civil Action No. 2:17-cv-00574
                                                   §
 ALIGNED DATA CENTERS LLC and                      §
 MTECHNOLOGY INC.                                  §             JURY TRIAL DEMANDED
                                                   §
                                                   §
          Defendants.                              §


               PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT

1.       Switch, Ltd. (“Switch”) is a global technology solutions corporation whose core business

         is the design, construction, and operation of data centers: the infrastructure that powers the

         internet. With its innovative, patented technology—technology that provides innovative

         cooling, resiliency, and efficiency for data centers—Switch has emerged as an industry

         leader. Aligned Data Centers LLC (“Aligned”) has begun using Switch’s technology to

         attempt to compete with Switch. Switch brings this action to bring an end to Aligned’s

         infringement of Switch’s patents.

2.       Switch also brings this action to hold MTechnology Inc. (“MTechnology”) accountable for

         its role in inducing Aligned’s infringement.        Mr. Stephen Fairfax, as President of

         MTechnology, was given wide access to assess Switch’s data center facilities in 2011 and

         in early 2015. Switch maintains military-grade security and only granted access to Mr.

         Fairfax at the request of a Switch customer. Mr. Fairfax agreed to keep the information in

         strict confidence and signed several confidentiality agreements.




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3.       In 2011, under a confidentiality agreement, Mr. Fairfax then toured and inspected Switch’s

         facility and spent hours conversing with Mr. Rob Roy—Switch’s founder, inventor and

         CEO—regarding Switch’s technology, designs, and business model. Mr. Fairfax praised

         Switch as uniquely innovative.

4.       Despite his assurances and obligations to maintain what he learned from Switch and Mr.

         Roy in confidence, Mr. Fairfax unlawfully abused Switch’s trust and violated his

         confidentiality agreements.

5.       In as early as 2013, without Switch’s knowledge or consent, Aligned hired Mr. Fairfax to

         begin designing data centers. The technology deployed in these facilities mimicsif not

         mirrorsSwitch’s technology.

6.       Aligned has publicly promoted Mr. Fairfax’s integral involvement with a promotional

         video on their website, and Mr. Fairfax himself has said he was invited to develop designs

         for Aligned Data Centers at the “blank page stage.”1 Aligned and MTechnology (together,

         “Defendants”) have also begun promoting technology invented and patented by Switch as

         available at Aligned Data Centers. Aligned is currently using Switch’s technology to

         attract clients for its Arizona and Texas facilities.    To promote these facilities, the

         Defendants are touting the same efficiency and scalability benefits that are available in

         Switch’s data center facilities and that would be much more difficult to obtain but for use

         of Switch’s technology. In doing so, the Defendants are unlawfully and intentionally

         infringing Switch’s patents, unfairly forcing Switch to compete with its own technology,

         and causing significant, irreparable harm to Switch.




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    See https://www.youtube.com/watch?v=KZRwktOCvdo (last visited Aug. 6, 2017).
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7.       Even the untrained eye can appreciate Aligned’s infringement when Switch’s technology,

         known as the Switch T-SCIF® (a “Thermal Separate Compartment in Facility”), is viewed

         side-by-side with Aligned’s “Customer Pod”. Switch provides the following comparisons

         for the Court’s convenience:

                Switch’s T-SCIF                        Aligned’s “Customer Pod”
                   Side View                                   Side View




                Switch’s T-SCIF                        Aligned’s “Customer Pod”
                   Front View                                  Front View




               Switch’s T-SCIF                         Aligned’s “Customer Pod”
         Top View Showing the Heat Shield            Top View Showing the Heat Shield




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                                           THE PARTIES

8.       Plaintiff Switch, Ltd. is a limited liability company organized and existing under the laws

         of the State of Nevada, and maintains its principal place of business at 7135 S. Decatur

         Blvd in Las Vegas, Nevada 89118.

9.       Defendant Aligned Data Centers LLC is a Delaware limited liability company organized

         and existing under the laws of the State of Delaware. Aligned Data Centers LLC’s

         principal place of business is located at 60 Backus Avenue, Danbury, Connecticut 06810.

10.      Defendant MTechnology Inc. is a Massachusetts corporation organized and existing under

         the laws of the State of Massachusetts. MTechnology Inc.’s principal place of business is

         2 Central St. Saxonville, Massachusetts 01701.

                                  JURISDICTION AND VENUE

11.      This is an action for patent infringement arising under the patent laws of the United States,

         35 U.S.C. §§ 1 et seq. This Court has jurisdiction over this action pursuant to 28 U.S.C.

         §§ 1331 and 1338(a).

12.      This Court has personal jurisdiction over Defendants. Aligned Data Centers LLC conducts

         business and has committed acts of patent infringement and has induced acts of patent

         infringement by others in this district.

13.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 and 1400(b) because, among

         other things, Aligned Data Centers LLC has committed acts of infringement in this district

         and has a regular and established place of business in this district. Specifically, Aligned

         has a large data center facility located at 2800 Summit Ave., Plano TX 75074. Thus,

         Aligned has a physical presence in the district. It also touts its presence in the district on,

         for example, its website. It receives benefits from its location in the district by, for

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      example, selling the use of its facility to customers. It has targeted interactions with the

      district by, for example, hiring employees, entering into contracts for use of its facility

      located in the district, and promoting the benefits of its location in the district.

14.   Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 and 1400(b) as to

      MTechnology Inc. because MTechnology has committed acts of infringement in this

      district as described below. Additionally, MTechnology has a regular and established place

      of business in the district. MTechnology, through at least its President Steve Fairfax, had

      a “seat at the table” in the design of Aligned Data Center’s data centers during the very

      beginning of the design process, including at the Plano data center location. MTechnology

      was physically in the district at least during the construction phase of Aligned’s Plano data

      center. MTechnology benefitted significantly—via either revenue, potential ownership, or

      otherwise—from its work in connection with the design of the Plano data center.

      MTechnology also benefited from its use of the data center in the district as its own

      marketing tool. MTechnology also has targeted interactions with the district. For example,

      MTechnology did a reliability study of the Plano facility. MTechnology has performed

      checks and likely will continue to perform periodic checks on Aligned Data Centers LLC’s

      facility in the district.     Additionally and relatedly, given MTechnology’s continued

      marketing of Aligned Data Centers LLC, including their facility in the district, it is also

      likely that MTechnology maintains ongoing contractual relationships with at least Aligned

      related to its facility in the district.

                                         PATENTS-IN-SUIT

15.   On December 6, 2011, the United States Patent and Trademark Office duly and legally

      issued U.S. Patent No. 8,072,780 (the “’780 patent”) entitled “Integrated Wiring System

      and Thermal Shield Support Apparatus for a Data Center,” attached as Exhibit A.
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16.      Switch owns all rights, title, and interest in and to the ’780 patent and possesses all rights

         of recovery.

17.      On May 15, 2012, the United States Patent and Trademark Office duly and legally issued

         U.S. Patent No. 8,180,495 (the “’495 patent”) entitled “Air Handling Control System for a

         Data Center,” attached as Exhibit B.

18.      Switch owns all rights, title, and interest in and to the ’495 patent and possesses all rights

         of recovery.

19.      On April 11, 2017, the United States Patent and Trademark Office duly and legally issued

         U.S. Patent No. 9,622,389 (the “’389 patent”) entitled “Electronic Equipment Data Center

         and Server Co-Location Facility Configurations and Method of Using the Same,” attached

         as Exhibit C.

20.      Switch owns all rights, title, and interest in and to the ’389 patent and possesses all rights

         of recovery.

                                   GENERAL ALLEGATIONS

                              I.      Switch’s Innovative Technology

21.      Switch incorporates by reference the preceding paragraphs as if fully set forth herein.

22.      Switch designs, constructs, and operates the physical infrastructure that cools, powers,

         protects and connects the internet.

23.      Switch’s designs have allowed Switch to become known as one of the best in the industry

         at building and operating data center technology ecosystems.

24.      Switch has received various awards for Rob Roy’s inventions, including being ranked as

         the World’s No. 1 cloud campus by industry publication Data Center Frontier.2 Switch



2
    See http://datacenterfrontier.com/top-10-cloud-campuses/.
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      was ranked above Google, Amazon, Apple, Microsoft, Facebook, DuPont Fabors, Digital

      Realty, the NSA, and Equinix.

25.   Switch’s customers include Intel, Amazon, Microsoft, Disney, Sony, Fox, Machine Zone,

      and hundreds more.          A partial list of Switch’s customers is available at

      http://www.switch.com/clients/.

26.   At the heart of Switch’s innovative technologies are Rob Roy’s inventions including, but

      not limited to, Switch’s patented hot aisle containment technology and multi-mode cooling

      technologies. The heat containment technology is known in the industry as the Switch T-

      SCIF (the “T-SCIF Technology”).

27.   Computer servers necessary to power the internet consume immense amounts of power.

      This power consumption generates heat. The problems in efficiently and effectively

      dealing with this heat have been long-felt in the industry and have proven to be a limiting

      factor in data center operation.

28.   Switch’s T-SCIF Technology allows for greater efficiencies and greater computer-server

      density use by containing up to 100% of the heated air emitted by servers and channeling

      that heat directly to Switch’s cooling technology systems.

29.   In a traditional data center, a single server cabinet may consume 3-5 kilowatts of power.

      However, Switch’s T-SCIF Technology permits its customers to deploy up to 50 kilowatts

      of power.

30.   Said differently, Switch’s modular technologies allow customers to consume 10 times the

      amount of power that may be consumed in a traditional environment without overheating

      their equipment or the data center. Switch’s technologies have allowed Switch to fully

      utilize its data center floor space and has helped customers reduce their costs for data center



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         deployment, all while delivering maximum power delivery and steady temperature and

         humidity control. All of this is provided in a modular fashion.

31.      Based on Switch’s unique approach to data center technology, Switch has been able to

         operate its data centers more efficiently than its competitors and has solved one of the

         biggest threats to data center efficiency: containing and channeling server heat. Switch’s

         patented and patent-pending technology allow Switch to achieve a best monthly average

         power usage effectiveness (an industry term often referred to as “PUE”) below 1.1, a feat

         that is unique in the colocation data center industry.3

32.      In addition to offering unique cooling efficiencies, Switch’s technology has permitted

         Switch to provide steady cooling and power to all of its clients without interruption for

         over 15 years. Although the electric utility may lose power, Switch’s designs ensure that

         a customer will not exceed key temperature thresholds or lose power.

33.      Switch offers unique, heat containment data center services because Switch’s heat

         containment technologies allow customers to consume more power in a given space. This

         in turn allows customers to reduce their overall data center floor space need and save on

         the overall cost of data center space.

                           II.     Aligned’s Unauthorized Infringement

34.      Switch recently learned of Aligned’s unauthorized infringement of Switch’s patented

         designs and technology. Upon further investigation, Switch discovered that Mr. Fairfax

         was instrumental in the design of the Aligned Data Centers in Plano, Texas and Phoenix,

         Arizona, and the associated technology, from the beginning.




3
    See https://www.switch.com/sustainability/#sustainable-by-design.
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35.       On July 21, 2017, Switch sent correspondence to the CEO of Aligned Data Centers, Mr.

          Andrew Schaap. Switch expressed its curiosity at Aligned’s data center designs and

          extended an invitation to dialogue and seek a business resolution. A copy of the

          correspondence is attached as Exhibit D.

36.       Switch did not hear back from Mr. Schaap, and has yet to hear from him.

37.       After further investigation, and as the facts became even more clear that Mr. Fairfax helped

          design Aligned’s data centers, Switch sent a litigation hold letter to Mr. Fairfax and to the

          CTO of Aligned Data Centers, Mr. Jakob Carnemark on July 27, 2017, a copy of which is

          attached as Exhibit E.

38.       Switch did not hear back from either Mr. Fairfax or Mr. Carnemark until it received a

          threatening correspondence from Aligned’s outside counsel on August 2, 2017. A copy of

          this correspondence is attached as Exhibit F.

39.       In its August 2 letter, Aligned insisted that Switch had “been communicating with potential

          customers and with data center brokers, including third parties in San Francisco, CA, and

          asserting that Aligned infringes Switch’s patents” and demanded that Switch, within two

          days, respond to its letter and agree to issue “corrective statements.”4

40.       In view of Aligned’s threatening letter and decision to interface via outside litigation

          counsel, all while faced with growing irreparable harm from Aligned’s continued

          infringement, Switch filed the instant suit.

                                    III.   Aligned’s Data Centers

41.       Aligned recently opened data centers in two markets, namely Plano, Texas and Phoenix,

          Arizona. Aligned builds their facilities in a modular fashion, like Switch, to match



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    See Exhibit F, pg. 2-3.
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         construction costs with customer demand.           Aligned has provided an image of the

         anticipated build-out of its first data center, located in Plano Texas, in its online marketing

         materials, see, e.g.:

     Aligned Plano Texas Rendering                          Plano Texas Google Earth Image




42.      However, as evidenced by the above satellite image of Aligned’s Plano facility, which

         depicts empty dirt lots next to the facility, Aligned might not have fully constructed its

         Plano facility. Rather, it appears that Aligned is waiting to finish the facility while it

         actively pursues customers and promotes Switch’s technology as its own to support the

         continued construction of its facilities.

43.      Aligned’s plans to unlawfully promote Switch’s technology as its own are not isolated to

         its current, infringing data centers. Aligned is advertising it will eventually operate in six

         markets: Plano, Texas; Phoenix, Arizona; Northern California; Northern Virginia;

         Northern New Jersey; and Chicago, Illinois.

44.      Nor is Aligned bashful in how it uses others’ technology. Keith Dines, Director of Aligned

         Data Centers, explains on the Aligned website: “If there is new technology that will

         improve efficiency or lower the cost to operate our data centers, we will embrace it whole-

         heartedly.”5



5
    See https://www.youtube.com/watch?v=fvlMKfZU9OI.
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                                       IV.    Stephen Fairfax

45.      Around May 2011, Stephen Fairfax was given an in-depth tour of Switch facilities. He

         was also given very unique and special access to all of Switch’s designs. Mr. Fairfax was

         permitted this unique access for a very limited purpose. Namely, he had been retained by

         one of Switch’s clients to conduct an in-depth audit of the Switch technology to provide an

         independent assessment of Switch’s technology. Mr. Fairfax was given access to all of

         Switch’s designs, including extremely sensitive documentation, plans, schematics,

         blueprints, and operational schedules so that he might complete his review.

46.      Prior to granting Mr. Fairfax access to any Switch facility or information, Mr. Fairfax was

         required to sign a comprehensive Non-Disclosure Agreement (the “2011 NDA”). Before

         being granted access to Switch’s protected materials and the environment within the data

         center, Mr. Fairfax and MTechnology committed to keep confidential any Confidential

         Information (as defined in the 2011 NDA).

47.      Following the tour and a thorough evaluation of Switch’s technology, on May 10, 2011,

         Mr. Fairfax emailed Switch to express his gratitude for the tour. He specifically thanked

         Switch for the “very thorough tour” and the “the generous amount of time Switch’s CEO

         spent discussing the data center, the business model, and a variety of other very interesting

         topics.”6

48.      In 2013, Switch’s client again asked Mr. Fairfax to tour Switch’s facility and evaluate

         evolutions in Switch’s designs. Mr. Fairfax praised Switch by noting, “[Switch] is an

         interesting site, unusual architecture, especially the cooling system.”7




6
    See Exhibit G (email dated May 10, 2011 from Defendant Fairfax to Switch).
7
    See Exhibit H (email dated May 24, 2013 from Mr. Fairfax to eBay).
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49.      Mr. Fairfax also noted that he had previously spent “over 4 hours one-on-one with Rob

         Roy during my initial visit,” and he stated that “I tried then to assure [Mr. Roy] that I have

         no interest in building and operating data centers.” Nevertheless, Mr. Fairfax stated that a

         “PRA [private risk assessment] should be informative for him as well as for you, and us.”8

50.      Around August 2015, again at the request of Switch’s client, Mr. Fairfax was once more

         granted this unique access to Switch under similar circumstances to evaluate new

         evolutions in Switch’s technology. Mr. Fairfax was again required to execute a Non-

         Disclosure Agreement (the “2015 NDA”, together with the 2011 NDA, the “Non-

         Disclosure Agreements”).

51.      Under the confidentiality protections of the 2015 NDA, Mr. Fairfax was given the

         opportunity to inspect, tour, and view: (i) the physical infrastructure and layout of the

         Switch facility, specifically the cabinet layout and configuration known as Switch’s T-

         SCIF; (ii) Switch’s novel cooling designs, specifically the multi-mode exterior wall

         penetrating HVAC system, the cabinet layout and configuration, as well as other

         technology unique to Switch and necessary to cool the data center; (iii) the electrical

         configuration and pathways; (iv) the interplay of various Switch technology and

         components; and (v) the operations of the data center unique to Switch.

52.      Pursuant to the Non-Disclosure Agreements, neither Defendant MTechnology nor Mr.

         Fairfax were permitted to disclose any confidential information learned during Mr.

         Fairfax’s tour and audit or to use any confidential information for their benefit or the benefit

         of others. Defendant MTechnology and Mr. Fairfax failed to keep their contractual

         commitment.



8
    See Exhibit H.
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            V.      Relationship between Aligned Data Centers and Stephen Fairfax

53.      Around or before 2015, Stephen Fairfax was introduced to Aligned by Inertech, one of

         Aligned’s subsidiaries. Mr. Fairfax was retained by Aligned Data Centers and asked to

         design its data centers. Mr. Fairfax was instrumental in the design of Aligned’s data center

         technology. According to Mr. Fairfax, “Aligned was unique in that they approached us

         while the paper was literally still blank.”9

54.      Mr. Fairfax was involved at every stage of the design and execution of Aligned’s data

         centers, and is, to this day, highlighted on the Aligned website as a spokesperson promoting

         the design of Aligned’s data centers.

                                VI.     Aligned Data Center Design

55.      Based on the completed design of the Aligned data centers, Switch believes that Mr.

         Fairfax improperly encouraged Aligned to implement Switch’s technology in the design

         and makeup of the Aligned data centers. As examples, Aligned’s facilities mimic: (i)

         Switch’s physical infrastructure, heat containment cabinet layout, and configuration; (ii)

         the electrical pathway configuration; (iii) the interplay of various component parts; and (iv)

         the operations of the data center unique to Switch.

56.      It should also be noted that, similar to Switch, Aligned is now claiming a PUE of 1.15 and

         the ability to reach per cabinet/rack KW consumption of 50 KW. Switch believes that

         these PUE and per-rack KW potentials are only be possible through the use of Switch’s

         technologies.




9
    See https://www.aligneddatacenters.com/video/steve-fairfax-mtechnology-aligned-data-centers.
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      COUNT ONE: DIRECT INFRINGEMENT BY ALIGNED DATA CENTERS LLC

57.     Aligned Data Centers LLC has made, makes, has used, uses, has sold, sells, has offered to

        sell, and offers to sell infringing data centers.

58.     Aligned’s data centers practice at least one claim of the ‘780 patent. An example claim,

        claim 1, recites:

          An apparatus for maintaining a configuration of electronic equipment disposed in a
          plurality of cabinets, for supporting a thermal shield that defines a hot air containment
          chamber, and supporting distribution power wires and conduits, electronic equipment
          power wires and conduits, and communication wiring, the plurality of cabinets disposed
          on a floor, the floor being within an internal area of a building, the cabinets positioned
          in a two rows and separated by a hot aisle area so that the electronic equipment disposed
          in the plurality of cabinets emit heated air in a predetermined direction toward the hot
          aisle area between the two rows, the apparatus comprising:

                a plurality of support brackets disposed along each of the two rows that support the
                distribution power wires and conduits, the electronic equipment power wires and
                conduits, and the communication wiring on one side of the plurality of support
                brackets, and support the thermal shield on another side plurality of support
                brackets, wherein a portion of each of the support brackets is adapted for connection
                above the plurality of cabinets, each of the support brackets including, in the portion
                adapted for connection above the plurality of cabinets:

                a plurality of tiered ladder rack supports on the one side to establish a plurality of
                different tiers outside of the hot air containment chamber, so that each of the
                different tiers is adapted to hold the electronic equipment power wires and conduits
                and the communication wiring, and

                a plurality of conduit holders disposed on the one side above the plurality of tiered
                ladder rack supports, each of the conduit holders in each of the plurality of support
                brackets aligned with corresponding ones of conduit holders in the other plurality
                of support brackets, for holding a plurality of the distribution power wires and
                conduits.
59.     As shown in the picture below, Aligned’s data centers contain an apparatus with “support

        brackets,” “cabinets,” a “thermal shield,” “tiered ladder racks supports,” and “conduit

        holders” as claimed in the ‘780 patent:




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Source: https://www.youtube.com/watch?v=FrlpEbBo37c at 1:25 (last visited Aug. 6, 2017).




Source: https://www.youtube.com/watch?v=KCaPCc6eHpk at 1:19 (last visited Aug. 6, 2017).

60.    Aligned’s data centers infringe at least one claim of the ‘389 patent. An example claim,

       claim 1, recites:



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     An apparatus for maintaining a configuration of electronic equipment disposed in a
     plurality of cabinets, for supporting a thermal shield that defines a hot air containment
     chamber, for supporting a thermal barrier ceiling, for supporting cool air ductwork and for
     supporting distribution power wires and conduits, electronic equipment power wires and
     conduits, and communication wiring, the plurality of cabinets disposed on a floor, the floor
     being within an internal area of a building, the cabinets positioned into two parallel rows
     that are separated by a hot aisle area so that the electronic equipment disposed in the
     plurality of cabinets emit heated air in a predetermined direction toward the hot aisle area
     between the two rows, the apparatus comprising:

            an interior frame structure that is independent of and not structurally tied to the
            plurality of cabinets, the interior frame structure including:

                    a first plurality of vertical support brackets disposed only at ends of the two
                    rows, each vertical support bracket being disposed on the floor at one end
                    and assists in supporting the thermal barrier ceiling at another end, wherein
                    the first plurality of vertical support brackets each further support portions
                    of the thermal shield on one side of the first plurality of vertical support
                    brackets at a location above a top of the plurality of cabinets, wherein the
                    cabinets positioned in the two parallel rows are separated by the hot aisle
                    area, and wherein a cross sectional area of the hot air containment chamber
                    defined by the thermal shield and parallel with the floor is disposed directly
                    above and encompasses a cross sectional area of the hot aisle area that is
                    located between the two parallel rows of cabinets and is parallel with the
                    floor;

                    a first horizontal support bracket disposed above a cabinet height that
                    intersects a middle hot aisle portion so that an area on two opposite sides
                    of each hot aisle where the cabinets can be placed does not have any
                    vertical support brackets disposed therein;

                    a second plurality of horizontal support brackets that are each parallel
                    with the floor, each of the second plurality of horizontal support brackets
                    connecting together two different ones of the first plurality of vertical
                    support brackets and connecting to each of the two different ones of the
                    first plurality of vertical support brackets at a height that is above the
                    cabinet height;

                    a plurality of tiered ladder rack supports, each connected to another side
                    of at least some of the first plurality of vertical support brackets that is
                    opposite the one side, which establish a plurality of different tiers
                    outside of the hot air containment chamber, so that each of the different

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                      tiers is adapted to hold the electronic equipment power wires and
                      conduits and the communication wiring; and

                      a second plurality of vertical support brackets disposed in a row,
                      substantially parallel to the two rows, each second vertical support
                      bracket being disposed on the floor at one end and assists in supporting
                      the thermal barrier ceiling at another end, wherein the second plurality
                      of vertical support brackets each further support portions of the cool air
                      ductwork.

61.    As shown in the pictures below, Aligned’s data centers contain an apparatus with “vertical

       support brackets,” “horizontal support brackets,” “tiered ladder rack supports,” a “thermal

       barrier ceiling” and “thermal shield” as claimed in the ’389 patent:




Source: Aligned Plano: Power and Cooling on Demand, DataCenter Dynamics,
http://www.datacenterdynamics.com/content-tracks/colo-cloud/aligned-plano-power-and-
cooling-on-demand/97039.fullarticle (last visited Aug. 7, 2017).




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Source: https://www.youtube.com/watch?v=q2nXSUi7Ag8&feature=youtu.be&t=6 at :03 (last
visited Aug. 7, 2017).

62.   Aligned’s data centers infringe at least one claim of the ‘495 patent. An example claim,

      claim 1, recites:

      An apparatus for cooling electronic equipment contained within a floor of a building, in
      conjunction with a plurality of air conditioning units that each create cool air and include
      an exhaust fan and a cooling fan and a plurality of actuators that control a plurality of
      dampers associated with the plurality of air conditioning units, the apparatus comprising:

              a plurality of cabinets disposed on the floor of the building for holding the
              electronic equipment therein, the plurality of cabinets positioned in a plurality
              of rows within each of a plurality of cabinet clusters so that the electronic
              equipment disposed within the cabinets emit heated air from the cabinets in
              each row of each cabinet cluster toward a central hot air area associated with
              each cabinet cluster;

              a hot air containment chamber disposed within the building over each of the
              plurality of cabinet clusters that traps the heated air within the central hot air
              area and causes substantially all the heated air within the central hot air area to
              rise up within the hot air containment chamber and exit through a hot air escape
              opening of the associated hot air containment chamber;

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             a warm air escape gap disposed within the building and disposed above each of
             the hot air containment chambers, the warm air escape gap collecting the heated
             air from each of the hot air containment chambers and feeding the heated air to
             the air conditioning units, the warm air escape gap being lowerly bounded by a
             ceiling, wherein the ceiling contains ceiling openings that each align with one
             of the hot air escape openings in each of the hot air containment chambers;
             cool air ducts disposed within the building that deliver the cool air from the
             plurality of air conditioning units toward a periphery of the plurality of rows of
             cabinets within each of the plurality of cabinet clusters; and

             a control system, the control system comprising:

             a plurality of temperature sensors, at least one temperature sensor located inside
             each of the central hot air areas associated with each cabinet cluster, at least one
             temperature sensor located outside each of the plurality of cabinet clusters, and
             at least one temperature sensor located in the warm air escape gap; a plurality
             of pressure differential sensors, at least one pressure differential sensor located
             inside each of the plurality of hot air containment chambers, at least one
             pressure differential sensor located outside each of the plurality of hot air
             containment chambers, and at least one pressure differential sensor located in
             the warm air escape gap; and

             a computer system, the computer system receiving signals from each of the
             plurality of temperature sensors and each of the plurality of pressure differential
             sensors, and providing control signals to control the exhaust fan, the cooling
             fan, and the plurality of actuators in order to control the temperature of the
             cooled air and a pressure differential that exists between an area within the hot
             air containment chamber for each of the cabinet clusters and a different area
             outside of each of the cabinet clusters.

63.   As shown in the pictures below, Aligned’s data centers comprise an apparatus with

      “cabinets,” a “hot air containment chamber,” and a “warm air escape gap” as claimed in

      the ’495 patent.




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Source: https://www.youtube.com/watch?v=2YnPQ4KmMKU at 0:06 (last visited Aug. 7,
2017).




Source: https://www.youtube.com/watch?v=KCaPCc6eHpk at 1:22 (last visited Aug. 7, 2017).




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64.   Aligned’s data centers also comprise an apparatus with a “control system” as claimed in

      the ’495 patent with its data center infrastructure management (DCIM) software and/or

      Inertech’s controller in conjunction with pressure differential and temperature sensors.

      See, e.g., Exhibits I-J.

65.   For example, Aligned describes its system as one that is a “responsive” cooling system

      that provides an environment that “dynamically adapts to IT loads.”10

66.   Aligned advertises its “Client Portal” for Data Center Information Management as

      including information related to “all of the components of your colocation

      environment, including footprint-level, rack-level, cooling system, and power system

      performance and utilization.”11

67.   Inertech describes its controller as follows: “When this free-cooling cycle requires

      assistance, Inertech’s controller brings the Danfoss Turbocor compressor online to

      provide incremental compression.” Exhibit K.

                  COUNT TWO: INDIRECT INFRINGEMENT BY ALIGNED

68.   Switch incorporates by reference the preceding paragraphs as if fully set forth herein.

69.   Aligned Data Centers LLC has actual knowledge of the patents-in-suit or was willfully

      blind to those patents.

70.   On July 21, 2017, Switch wrote to Aligned Data Centers informing Aligned of the ’780

      and ’389 patents. The ’495 Patent is part of the same patent family.




10
   Available at https://www.youtube.com/watch?v=KCaPCc6eHpk at 1:25-1:46 (last visited
Aug. 7, 2017).
11
   See https://www.aligneddatacenterns.com/whats-inside/client-portal.
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71.   Aligned Data Centers LLC indirectly infringes the patents-in-suit by inducing infringement

      by others, such as its customers using the data centers, by, for example, encouraging those

      customers to use the infringing apparatuses described above.

72.   Aligned took the above actions intending to cause infringing acts by others.

73.   Aligned was aware of the patents-in-suit and knew that the others’ actions, if taken, would

      constitute infringement of the patents-in-suit. Alternatively, Aligned believed there was a

      high probability that others would infringe the patents-in-suit but remained willfully blind

      to the infringing nature of others’ actions.

74.   Aligned therefore infringes the patents-in-suit under 35 U.S.C. § 271(b).

        COUNT THREE: INDIRECT INFRINGEMENT BY MTECHNOLOGY

75.   Switch incorporates by reference the preceding paragraphs as if fully set forth herein.

76.   MTechnology had actual knowledge of the patents-in-suit or was willfully blind to those

      patents.

77.   MTechnology President, Stephen Fairfax, toured Switch’s Las Vegas facilities once in or

      near May 2011 and once in or near August 2015. The purpose of these tours was to inspect

      the facilities on behalf of Switch’s largest client.

78.   In 2011, in connection with his inspection, Mr. Fairfax was told that there were patents

      issued and pending on Switch’s T-SCIF design.

79.   In 2013, Mr. Fairfax specifically praised Switch’s cooling system, of which Switch’s T-

      SCIF design is a part. Mr. Fairfax also represented that MTechnology had “no interest in

      building and operating data centers.”

80.   In 2015, it was reiterated to Mr. Fairfax that there were patents issued and pending on

      Switch’s T-SCIF design.



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81.   In Aligned marketing materials, Mr. Fairfax acknowledges that, notwithstanding his

      exposure to the intricacies of Switch’s innovative data center design, he, on behalf of

      MTechnology, nevertheless had a “seat at the table to participate” in Aligned’s design

      process and that, in fact, Aligned had approached him at the very beginning of the process

      “while the paper was literally still blank.”

82.   By participating with Aligned in its design process for these data centers, MTechnology

      actively induced Aligned’s infringement under 35 U.S.C. §271(b).

83.   By participating in the design process, MTechnology took action that encouraged Aligned

      to go forward with a particular, infringing design for its data centers. As described above,

      making a data center pursuant to that design infringes the patents-in-suit.

84.   As such, MTechnology either knew or was willfully blind to the existence of the patents-

      in-suit.

85.   Additionally, MTechnology either knew or was willfully blind to the fact that Aligned’s

      implementation of its data centers would infringe Switch’s patents.

86.   MTechnology acted intending to encourage that infringing action by Aligned.

87.   Additionally, MTechnology continues to publicly promote Aligned’s data centers with

      knowledge of Aligned’s infringing data center designs, for example, via internet videos

      and quotes posted on Aligned’s websites. By continuing to promote Aligned’s data centers,

      MTechnology encourages the infringing use of those data centers by Aligned’s customers

      knowing that the use of those centers would constitute infringement of the patents-in-suit

      or being willfully blind to that infringement.

                                DEMAND FOR JURY TRIAL

      Switch hereby demands a jury for all issues so triable.



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                                   PRAYER FOR RELIEF

1.    A judgment that Aligned Data Centers LLC has directly infringed the ’780, ’389, and

      ’495 patents and that Aligned Data Centers LLC induced the infringement of the ’780,

      ’389, and ’495 patents.

2.    A judgment that MTechnology has induced Align Data Centers LLC’s infringement of

      the ’780, ’389, and ’495 patents and has induced others to infringe the ’780, ’389, and

      ’495 patents by encouraging the use of Aligned Data Centers LLC’s facilities.

3.    A preliminary and permanent injunction preventing Defendants and their officers,

      directors, agents, servants, employees, attorneys, licensees, successors, and assigns, and

      those in active concert or participation with any of them, from directly infringing,

      contributorily infringing, and inducing the infringement of the ’780, ’389, and ’495 patents;

4.    A ruling that this case be found to be exceptional under 35 U.S.C. § 285, and a judgment

      awarding to Switch its attorneys’ fees incurred in prosecuting this action;

5.    A judgment and order requiring Defendants to pay Switch damages under 35 U.S.C. § 284,

      including enhancement and including supplemental damages for any continuing post-

      verdict infringement up until entry of the final judgment, with an accounting, as needed;

6.    A judgment and order requiring Defendants to pay Switch the costs of this action (including

      all disbursements);

7.    A judgment and order requiring Defendants to pay Switch pre-judgment and post-judgment

      interest on the damages awarded;

8.    A judgment and order requiring that in the event a permanent injunction preventing future

      acts of infringement is not granted, that Switch be awarded an ongoing licensing fee; and

      Such other and further relief as the Court may deem just and proper.



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DATED: August 7, 2017                       Respectfully submitted,

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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


SWITCH, LTD.

               Plaintiff,
                                                      CIVIL ACTION NO. 2:17-cv-574-JRG
       v.

ALIGNED DATA CENTERS, LLC and                         JURY TRIAL DEMANDED
MTECHNOLOGY, INC.

               Defendants.


             DEFENDANT ALIGNED DATA CENTERS, LLC’S ANSWER TO
              PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT

       Defendant Aligned Data Centers, LLC (“Aligned”) answers the Complaint for Patent

Infringement of Plaintiff Switch, Ltd. (“Switch”) as follows:

       1.      Aligned specifically denies that it has committed any acts of infringement.

Aligned is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of paragraph 1 of the Complaint, and therefore denies them.

       2.      Aligned denies the allegations contained in paragraph 2 of the Complaint to the

extent and as they relate to Aligned. Moreover, Aligned specifically denies that it has committed
any acts of infringement. To the extent the allegations in paragraph 2 of the Complaint are

directed to MTechnology, Inc. (“MTechnology”), Aligned is without knowledge or information

sufficient to form a belief as to the truth of the allegations of paragraph 2 of the Complaint.

       3.      Aligned denies the allegations contained in paragraph 3 of the Complaint to the

extent and as they relate to Aligned. Moreover, Aligned specifically denies that it has committed

any acts of infringement. To the extent the allegations in paragraph 3 of the Complaint are

directed to MTechnology, Aligned is without knowledge or information sufficient to form a

belief as to the truth of the allegations of paragraph 3 of the Complaint.




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       4.      Aligned denies the allegations contained in paragraph 4 of the Complaint to the

extent and as they relate to Aligned. Moreover, Aligned specifically denies that it has committed

any acts of infringement. To the extent the allegations in paragraph 4 of the Complaint are

directed to MTechnology, Aligned is without knowledge or information sufficient to form a

belief as to the truth of the allegations of paragraph 4 of the Complaint.

       5.      Aligned denies the allegations contained in paragraph 5 of the Complaint.

       6.      Aligned denies the allegations contained in paragraph 6 of the Complaint to the
extent and as they relate to Aligned. Moreover, Aligned specifically denies that it has committed

any acts of infringement. To the extent the allegations in paragraph 6 of the Complaint are

directed to MTechnology, Aligned is without knowledge or information sufficient to form a

belief as to the truth of the allegations of paragraph 6 of the Complaint.

       7.      Aligned denies the allegations of paragraph 7 of the Complaint and specifically

denies that it has committed any acts of infringement.

                                         THE PARTIES

       8.      Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 8 of the Complaint.

       9.      Aligned admits that it is a Delaware limited liability company and has its

principal place of business at 60 Backus Avenue, Danbury, CT. Aligned denies the remaining

allegations of paragraph 9 of the Complaint.

       10.     Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 10 of the Complaint.

                                 JURISDICTION AND VENUE

       11.     The allegations in paragraph 11 are legal conclusions to which no answer is

required. To the extent any answer is required, Aligned admits that this action involves the

United States patent laws, and that this Court has subject matter jurisdiction over patent law

claims. Aligned denies any remaining allegations in paragraph 11.




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       12.      The allegations in paragraph 12 are legal conclusions to which no answer is

required. To the extent that any answer is required, Aligned does not contest that there is

personal jurisdiction in Texas solely for the purpose of this action.

       13.      Aligned admits that it has transacted business in the States of Texas, that it has

performed services at the facilities of an affiliate located at 2800 Summit Ave., Plano, Texas

75074, and that venue for this case is governed by 28 U.S.C. § 1400(b). Aligned denies that

venue is convenient in the Eastern District of Texas. Aligned denies the remaining allegations in
paragraph 13 of the Complaint, and specifically denies that it has committed any acts of

infringement within the Eastern District of Texas, or any other district in Texas, or anywhere else

in the world.

       14.      Aligned denies the allegations contained in paragraph 14 of the Complaint to the

extent and as they relate to Aligned. Moreover, Aligned specifically denies that it has committed

any acts of infringement. To the extent the allegations in paragraph 14 of the Complaint are

directed to MTechnology, Aligned is without knowledge or information sufficient to form a

belief as to the truth of the allegations of paragraph 14 of the Complaint.

                                       PATENTS-IN-SUIT

       15.      Aligned admits that, according to the face of the patent, U.S. Patent No. 8,072,780

(“’780 patent”), which appears to be attached as an exhibit to the Complaint, is entitled,

“Integrate Wiring System and Thermal Shield Support Apparatus for a Data Center” and bears

an issue date of December 6, 2011. Aligned denies that the ’780 patent is valid. Aligned is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations of paragraph 15 of the Complaint, and therefore denies them.

       16.      Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 15 of the Complaint, and therefore denies them.

       17.      Aligned admits that, according to the face of the patent, U.S. Patent No. 8,180,495

(“’495 patent”), which appears to be attached as an exhibit to the Complaint, is entitled, “Air

Handling Control System for a Data Center” and bears an issue date of May 15, 2012. Aligned


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denies that the ’495 patent is valid. Aligned is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations of paragraph 17 of the Complaint, and

therefore denies them.

        18.    Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 18 of the Complaint, and therefore denies them.

        19.    Aligned admits that, according to the face of the patent, U.S. Patent No. 9,622,389

(“’389 patent”), which appears to be attached as an exhibit to the Complaint, is entitled,
“Electronic Equipment Data Center and Server Co-Location Facility Configurations and

Methods of Using the Same” and bears an issue date of April 11, 2017. Aligned denies that the

’389 patent is valid. Aligned is without knowledge or information sufficient to form a belief as

to the truth of the remaining allegations of paragraph 19 of the Complaint, and therefore denies

them.

        20.    Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 20 of the Complaint, and therefore denies them.

                                  GENERAL ALLEGATIONS

                             I.      Switch’s Innovative Technology

        21.    In response to paragraph 21 of the Complaint, Aligned incorporates by reference

its responses to the preceding paragraphs as if fully set forth herein.

        22.    Aligned, on information and belief, denies the allegations of paragraph 22 of the

Complaint.

        23.    Aligned, on information and belief, denies the allegations of paragraph 23 of the

Complaint.

        24.    Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 24 of the Complaint, and therefore denies them.

        25.    Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 25 of the Complaint, and therefore denies them.




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       26.     Aligned, on information and belief, denies the allegations of paragraph 26 of the

Complaint.

       27.     Aligned admits that computer servers consume power and generate heat and that

effectively and efficiently removing such heat has been an issue in data center operations. On

information and belief, Aligned denies the remaining allegations of paragraph 27 of the

Complaint.

       28.     Aligned, on information and belief, denies the allegations of paragraph 28 of the
Complaint.

       29.     Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 29 of the Complaint, and therefore denies them.

       30.     Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 30 of the Complaint, and therefore denies them.

       31.     Aligned, on information and belief, denies the allegations of paragraph 31 of the

Complaint.

       32.     Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 32 of the Complaint, and therefore denies them.

       33.     Aligned, on information and belief, denies the allegations of paragraph 33 of the

Complaint.

                         II.    Aligned’s Unauthorized Infringement

       34.     Aligned denies the allegations contained in paragraph 34 of the Complaint.

       35.     Aligned admits that a correspondence dated July 21, 2017 is attached as an exhibit

to the Complaint and appears to be from Thomas Morton and addressed to Andrew Schaap,

Aligned’s CEO. Aligned denies the remaining allegations of paragraph 35 of the Complaint.

       36.     Aligned denies the allegations of paragraph 36 of the Complaint.
       37.     Aligned admits that a correspondence dated July 27, 2017 is attached as an exhibit

to the Complaint and is addressed to Jakob Carnemark, Aligned’s CTO. Aligned denies the

remaining allegations contained in paragraph 37 of the Complaint.


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       38.     Aligned admits that a correspondence dated August 2, 2017 is attached as an

exhibit to the Complaint. Aligned denies the remaining allegations of paragraph 38 of the

Complaint.

       39.     Aligned admits that the correspondence dated August 2, 2017, which is attached

as an exhibit to the Complaint, states, in part, that “Aligned has recently learned that Switch has

been communicating with Aligned’s potential customers and with data center brokers, including

third parties in San Francisco, CA, and asserting that Aligned infringes Switch patents.” Aligned
admits that Switch should be required to issue corrective statements regarding its false assertions,

and admits that Switch has not done so. Aligned denies the remaining allegations of paragraph

39.

       40.     Aligned denies the allegation of paragraph 40 of the Complaint.

                                 III.    Aligned’s Data Centers

       41.     Aligned admits that its affiliates have data center facilities in Plano, Texas and

Phoenix, Arizona. Aligned denies the characterization in paragraph 41 of the Complaint

regarding those data centers and the manner in which Aligned and its affiliates build facilities.

Aligned is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of paragraph 41 of the Complaint, and therefore denies them.

       42.     Aligned denies the allegations in paragraph 42 of the Complaint.

       43.     Aligned denies the allegations in paragraph 43 of the Complaint and specifically

denies that it has committed any acts of infringement.

       44.     Aligned admits that at around 2:23 to 2:29 of the video found at,

https://www.youtube.com/watch?v=fvlMKfZU9OI, the audio states “. . . if there is new

technology that will improve efficiency, or lower the cost to operate our data centers, we will

embrace it wholeheartedly.” Aligned denies the remaining allegations of paragraph 44 of the
Complaint, and specifically denies that it has committed any acts of infringement.




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                                     IV.     Stephen Fairfax

       45.     Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 45 of the Complaint, and therefore denies them.

       46.     Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 46 of the Complaint, and therefore denies them.

       47.     Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 47 of the Complaint, and therefore denies them.
       48.     Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 48 of the Complaint, and therefore denies them.

       49.     Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 49 of the Complaint, and therefore denies them.

       50.     Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 50 of the Complaint, and therefore denies them.

       51.     Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 51 of the Complaint, and therefore denies them.

       52.     Aligned is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 52 of the Complaint, and therefore denies them.

          V.      Relationship between Aligned Data Centers and Stephen Fairfax

       53.     Aligned admits that Mr. Fairfax reviewed and discussed Aligned’s data center

reliability and that at around 1:09 to 1:13 of the video embedded at

https://www.aligneddatacenters.com/video/steve-fairfax-mtechnology-aligned-data-centers, the

audio states, “. . . Aligned was unique in that they approached us while the paper was literally

still blank.” Aligned denies the remaining allegations in paragraph 53 of the Complaint.

       54.     Aligned admits that Mr. Fairfax reviewed and discussed Aligned’s data center
reliability. Aligned denies the remaining allegations in paragraph 54 of the Complaint and

specifically denies that Mr. Fairfax has or had any participation in developing Aligned’s data

center cooling technology, designs or execution.


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                                 VI.     Aligned Data Center Design

          55.    Aligned is without information sufficient to form a belief as to the truth of the

allegations regarding Switch’s belief as set forth in paragraph 55 of the Complaint, and therefore

denies them. Aligned denies any remaining allegations of paragraph 55 of the Complaint, and

specifically denies that it has committed any acts of infringement.

          56.    Aligned denies the allegations in paragraph 56 of the Complaint and specifically

denies that it has committed any acts of infringement.

    COUNT ONE: DIRECT INFRINGEMENT BY ALIGNED DATA CENTERS LLC
          57.    Aligned denies the allegations in paragraph 57 of the Complaint, and specifically

denies that it has committed any acts of infringement.

          58.    Aligned specifically denies that it has committed any acts of infringement.

Aligned admits that paragraph 58 of the Complaint cites to claim 1 of the ’780 patent, which

states:
          1. An apparatus for maintaining a configuration of electronic equipment disposed in a
          plurality of cabinets, for supporting a thermal shield that defines a hot air containment
          chamber, and supporting distribution power wires and conduits, electronic equipment
          power wires and conduits, and communication wiring, the plurality of cabinets disposed
          on a floor, the floor being within an internal area of a building, the cabinets positioned in
          a two rows and separated by a hot aisle area so that the electronic equipment disposed in
          the plurality of cabinets emit heated air in a predetermined direction toward the hot aisle
          area between the two rows, the apparatus comprising:
                 a plurality of support brackets disposed along each of the two rows that support
                 the distribution power wires and conduits, the electronic equipment power wires
                 and conduits, and the communication wiring on one side of the plurality of
                 support brackets, and support the thermal shield on another side plurality of
                 support brackets, wherein a portion of each of the support brackets is adapted for
                 connection above the plurality of cabinets, each of the support brackets including,
                 in the portion adapted for connection above the plurality of cabinets:
                 a plurality of tiered ladder rack supports on the one side to establish a plurality of
                 different tiers outside of the hot air containment chamber, so that each of the
                 different tiers is adapted to hold the electronic equipment power wires and
                 conduits and the communication wiring, and
                 a plurality of conduit holders disposed on the one side above the plurality of tiered
                 ladder rack supports, each of the conduit holders in each of the plurality of
                 support brackets aligned with corresponding ones of conduit holders in the other


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                 plurality of support brackets, for holding a plurality of the distribution power
                 wires and conduits.

          59.    Aligned denies the allegations in paragraph 59 of the Complaint, and specifically

denies that it has committed any acts of infringement.

          60.    Aligned specifically denies that it has committed any acts of infringement.

Aligned admits that paragraph 60 of the Complaint cites to claim 1 of the ’389 patent, which

states:
          1. An apparatus for maintaining a configuration of electronic equipment disposed in a
          plurality of cabinets, for supporting a thermal shield that defines a hot air containment
          chamber, for supporting a thermal barrier ceiling, for supporting cool air ductwork and
          for supporting distribution power wires and conduits, electronic equipment power wires
          and conduits, and communication wiring, the plurality of cabinets disposed on a floor, the
          floor being within an internal area of a building, the cabinets positioned into two parallel
          rows that are separated by a hot aisle area so that the electronic equipment disposed in the
          plurality of cabinets emit heated air in a predetermined direction toward the hot aisle area
          between the two rows, the apparatus comprising:
                 an interior frame structure that is independent of and not structurally tied to the
                 plurality of cabinets, the interior frame structure including:
                 a first plurality of vertical support brackets disposed only at ends of the two rows,
                 each vertical support bracket being disposed on the floor at one end and assists in
                 supporting the thermal barrier ceiling at another end, wherein the first plurality of
                 vertical support brackets each further support portions of the thermal shield on
                 one side of the first plurality of vertical support brackets at a location above a top
                 of the plurality of cabinets, wherein the cabinets positioned in the two parallel
                 rows are separated by the hot aisle area, and wherein a cross sectional area of the
                 hot air containment chamber defined by the thermal shield and parallel with the
                 floor is disposed directly above and encompasses a cross sectional area of the hot
                 aisle area that is located between the two parallel rows of cabinets and is parallel
                 with the floor;
                 a first horizontal support bracket disposed above a cabinet height that intersects a
                 middle hot aisle portion so that an area on two opposite sides of each hot aisle
                 where the cabinets can be placed does not have any vertical support brackets
                 disposed therein;
                 a second plurality of horizontal support brackets that are each parallel with the
                 floor, each of the second plurality of horizontal support brackets connecting
                 together two different ones of the first plurality of vertical support brackets and
                 connecting to each of the two different ones of the first plurality of vertical
                 support brackets at a height that is above the cabinet height;
                 a plurality of tiered ladder rack supports, each connected to another side of at least
                 some of the first plurality of vertical support brackets that is opposite the one side,


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                 which establish a plurality of different tiers outside of the hot air containment
                 chamber, so that each of the different tiers is adapted to hold the electronic
                 equipment power wires and conduits and the communication wiring;
                 and a second plurality of vertical support brackets disposed in a row, substantially
                 parallel to the two rows, each second vertical support bracket being disposed on
                 the floor at one end and assists in supporting the thermal barrier ceiling at another
                 end, wherein the second plurality of vertical support brackets each further support
                 portions of the cool air ductwork.

          61.    Aligned denies the allegations in paragraph 61 of the Complaint, and specifically

denies that it has committed any acts of infringement.

          62.    Aligned specifically denies that it has committed any acts of infringement.

Aligned admits that paragraph 62 of the Complaint cites to claim 1 of the ’495 patent, which

states:
          1. An apparatus for cooling electronic equipment contained within a floor of a building,
          in conjunction with a plurality of air conditioning units that each create cool air and
          include an exhaust fan and a cooling fan and a plurality of actuators that control a
          plurality of dampers associated with the plurality of air conditioning units, the apparatus
          comprising:
                 a plurality of cabinets disposed on the floor of the building for holding the
                 electronic equipment therein, the plurality of cabinets positioned in a plurality of
                 rows within each of a plurality of cabinet clusters so that the electronic equipment
                 disposed within the cabinets emit heated air from the cabinets in each row of each
                 cabinet cluster toward a central hot air area associated with each cabinet cluster;
                 a hot air containment chamber disposed within the building over each of the
                 plurality of cabinet clusters that traps the heated air within the central hot air area
                 and causes substantially all the heated air within the central hot air area to rise up
                 within the hot air containment chamber and exit through a hot air escape opening
                 of the associated hot air containment chamber;
                 a warm air escape gap disposed within the building and disposed above each of
                 the hot air containment chambers, the warm air escape gap collecting the heated
                 air from each of the hot air containment chambers and feeding the heated air to
                 the air conditioning units, the warm air escape gap being lowerly bounded by a
                 ceiling, wherein the ceiling contains ceiling openings that each align with one of
                 the hot air escape openings in each of the hot air containment chambers;
                 cool air ducts disposed within the building that deliver the cool air from the
                 plurality of air conditioning units toward a periphery of the plurality of rows of
                 cabinets within each of the plurality of cabinet clusters; and
                 a control system, the control system comprising:




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                       a plurality of temperature sensors, at least one temperature sensor located
                       inside each of the central hot air areas associated with each cabinet cluster,
                       at least one temperature sensor located outside each of the plurality of
                       cabinet clusters, and at least one temperature sensor located in the warm
                       air escape gap;
                       a plurality of pressure differential sensors, at least one pressure differential
                       sensor located inside each of the plurality of hot air containment
                       chambers, at least one pressure differential sensor located outside each of
                       the plurality of hot air containment chambers, and at least one pressure
                       differential sensor located in the warm air escape gap; and
                       a computer system, the computer system receiving signals from each of
                       the plurality of temperature sensors and each of the plurality of pressure
                       differential sensors, and providing control signals to control the exhaust
                       fan, the cooling fan, and the plurality of actuators in order to control the
                       temperature of the cooled air and a pressure differential that exists
                       between an area within the hot air containment chamber for each of the
                       cabinet clusters and a different area outside of each of the cabinet clusters.

       63.     Aligned denies the allegations in paragraph 63 of the Complaint, and specifically

denies that it has committed any acts of infringement.

       64.     Aligned denies the allegations in paragraph 64 of the Complaint, and specifically

denies that it has committed any acts of infringement.

       65.     Aligned admits making the statements quoted in paragraph 65 of the Complaint,

but specifically denies that it has committed any acts of infringement.

       66.     Aligned admits making the statements quoted in paragraph 66 of the Complaint,

but specifically denies that it has committed any acts of infringement.
       67.     Aligned admits making the statements quoted in paragraph 67 of the Complaint,

but specifically denies that it has committed any acts of infringement.

               COUNT TWO: INDIRECT INFRINGEMENT BY ALIGNED

       68.     In response to paragraph 68 of the Complaint, Aligned incorporates by reference

its responses to the preceding paragraphs as if fully set forth herein.

       69.     Aligned admits that it was first provided notice of the ’780 patent and the ’389

patent via a correspondence from Thomas Morton at Switch, dated July 21, 2017. Aligned

admits that it had notice of the ’495 patent as of the Complaint. Aligned denies the remaining



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allegations in paragraph 69 of the Complaint, and specifically denies that it has committed any

acts of infringement.

       70.     Aligned admits the correspondence from Thomas Morton at Switch, dated July

21, 2017, identifies the ’780 patent and the ’389 patent. Aligned is without information

sufficient to form a belief as to the truth of the allegations regarding the remaining allegations in

paragraph 70 of the Complaint, and therefore denies them.

       71.      Aligned denies the allegations in paragraph 71 of the Complaint, and specifically
denies that it has committed any acts of infringement.

       72.     Aligned denies the allegations in paragraph 72 of the Complaint, and specifically

denies that it has committed any acts of infringement.

       73.     Aligned denies the allegations in paragraph 73 of the Complaint, and specifically

denies that it has committed any acts of infringement.

       74.     Aligned denies the allegations in paragraph 74 of the Complaint, and specifically

denies that it has committed any acts of infringement.

         COUNT THREE: INDIRECT INFRINGEMENT BY MTECHNOLOGY

       75.     In response to paragraph 75 of the Complaint, Aligned incorporates by reference

its responses to the preceding paragraphs as if fully set forth herein.

       76.     Aligned denies the allegations contained in paragraph 76 of the Complaint to the

extent and as they relate to Aligned. Moreover, Aligned specifically denies that it has committed

any acts of infringement. To the extent the allegations in paragraph 76 of the Complaint are

directed to MTechnology, Aligned is without knowledge or information sufficient to form a

belief as to the truth of the allegations of paragraph 76 of the Complaint.

       77.     Aligned denies the allegations contained in paragraph 77 of the Complaint to the

extent and as they relate to Aligned. To the extent the allegations in paragraph 77 of the

Complaint are directed to MTechnology, Aligned is without knowledge or information sufficient

to form a belief as to the truth of the allegations of paragraph 77 of the Complaint.




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       78.     Aligned denies the allegations contained in paragraph 78 of the Complaint to the

extent and as they relate to Aligned. To the extent the allegations in paragraph 78 of the

Complaint are directed to MTechnology, Aligned is without knowledge or information sufficient

to form a belief as to the truth of the allegations of paragraph 78 of the Complaint.

       79.     Aligned denies the allegations contained in paragraph 79 of the Complaint to the

extent and as they relate to Aligned. To the extent the allegations in paragraph 79 of the

Complaint are directed to MTechnology, Aligned is without knowledge or information sufficient
to form a belief as to the truth of the allegations of paragraph 79 of the Complaint.

       80.     Aligned denies the allegations contained in paragraph 80 of the Complaint to the

extent and as they relate to Aligned. To the extent the allegations in paragraph 80 of the

Complaint are directed to MTechnology, Aligned is without knowledge or information sufficient

to form a belief as to the truth of the allegations of paragraph 80 of the Complaint.

       81.     Aligned denies the allegations contained in paragraph 81 of the Complaint to the

extent and as they relate to Aligned and any allegation that Mr. Fairfax has or had any

participation in developing Aligned’s data center cooling technology, designs or execution.

Moreover, Aligned specifically denies that it has committed any acts of infringement. To the

extent the allegations in paragraph 81 of the Complaint are directed to MTechnology, Aligned is

without knowledge or information sufficient to form a belief as to the truth of the allegations of

paragraph 81 of the Complaint.

       82.     Aligned denies the allegations contained in paragraph 82 of the Complaint to the

extent and as they relate to Aligned. Moreover, Aligned specifically denies that it has committed

any acts of infringement. To the extent the allegations in paragraph 82 of the Complaint are

directed to MTechnology, Aligned is without knowledge or information sufficient to form a

belief as to the truth of the allegations of paragraph 82 of the Complaint.
       83.     Aligned denies the allegations contained in paragraph 83 of the Complaint to the

extent and as they relate to Aligned. Moreover, Aligned specifically denies that it has committed

any acts of infringement. To the extent the allegations in paragraph 83 of the Complaint are


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directed to MTechnology, Aligned is without knowledge or information sufficient to form a

belief as to the truth of the allegations of paragraph 83 of the Complaint.

        84.     Aligned denies the allegations contained in paragraph 84 of the Complaint to the

extent and as they relate to Aligned. Moreover, Aligned specifically denies that it has committed

any acts of infringement. To the extent the allegations in paragraph 84 of the Complaint are

directed to MTechnology, Aligned is without knowledge or information sufficient to form a

belief as to the truth of the allegations of paragraph 84 of the Complaint.
        85.     Aligned denies the allegations contained in paragraph 85 of the Complaint to the

extent and as they relate to Aligned. Moreover, Aligned specifically denies that it has committed

any acts of infringement. To the extent the allegations in paragraph 85 of the Complaint are

directed to MTechnology, Aligned is without knowledge or information sufficient to form a

belief as to the truth of the allegations of paragraph 85 of the Complaint.

        86.     Aligned denies the allegations contained in paragraph 86 of the Complaint to the

extent and as they relate to Aligned. Moreover, Aligned specifically denies that it has committed

any acts of infringement. To the extent the allegations in paragraph 86 of the Complaint are

directed to MTechnology, Aligned is without knowledge or information sufficient to form a

belief as to the truth of the allegations of paragraph 86 of the Complaint.

        87.     Aligned denies the allegations contained in paragraph 87 of the Complaint to the

extent and as they relate to Aligned. Moreover, Aligned specifically denies that it has committed

any acts of infringement. To the extent the allegations in paragraph 87 of the Complaint are

directed to MTechnology, Aligned is without knowledge or information sufficient to form a

belief as to the truth of the allegations of paragraph 87 of the Complaint.

                                 DEMAND FOR JURY TRIAL

        The Complaint does not contain any allegations to admit or deny with respect to Switch’s

request for a trial by jury of any issues so triable by right. Aligned demands a trial by jury on all

issues so triable.




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                                     PRAYER FOR RELIEF

       These paragraphs set forth the statement of relief requested by Switch to which no

response is required. Aligned denies that Switch is entitled to any of the requested relief and

denies any allegations therein.

                                   AFFIRMATIVE DEFENSES

       Aligned alleges and asserts the following defenses, affirmative or otherwise, without

assuming any burden of proof that it would not otherwise have. In addition to the affirmative

defenses described below and subject to its responses above, Aligned specifically reserves all

rights to allege additional defenses, affirmative or otherwise, that become known through the

course of discovery.

                              FIRST AFFIRMATIVE DEFENSE

                                  FAILURE TO STATE A CLAIM

       The Complaint fails to state a claim upon which relief can be granted because, inter alia,

the Complaint does not plausibly state a claim of infringement for which relief can be granted.

                             SECOND AFFIRMATIVE DEFENSE

                                     NON-INFRINGEMENT

       For at least the reasons set forth in response to Count One of the Complaint, Aligned does

not infringe and has not infringed (whether directly, contributorily, or by inducement) literally or

under the doctrine of equivalents any valid claim of the Patents-In-Suit.

                              THIRD AFFIRMATIVE DEFENSE

                                          INVALIDITY

       The claims of the Patents-In-Suit are invalid under 35 U.S.C. § 101 et seq., including one

or more of 35 U.S.C. §§ 101, 102, 103, and/or 112. Aligned reserves the right to identify and

rely upon prior art that may be discovered as discovery progresses in this action.




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                            FOURTH AFFIRMATIVE DEFENSE

                                      BAR TO DAMAGES

       Switch’s claims for damages are barred, in whole or in part, under 35 U.S.C. §§ 287

and/or 288.

                              FIFTH AFFIRMATIVE DEFENSE

                                  NO INJUNCTIVE RELIEF

       Switch’s claim for injunctive relief is barred because any alleged injury to Switch is not
immediate or irreparable, and Switch has an adequate remedy at law for any alleged injury.

                               RESERVATION OF DEFENSES

       Aligned reserves all affirmative defenses under Federal Rule of Civil Procedure 8(c), the

patent laws, and any other defenses available at law or in equity that now exist or in the future

may be available based on discovery or any other factual investigation concerning this action.




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                                       COUNTERCLAIMS

       Counterclaim-plaintiffs Aligned Data Centers, LLC (“Aligned Data Centers”); Aligned

Data Centers (DFW), LLC (“ADC DFW”) and Aligned Data Centers (Phoenix), LLC (“ADC

Phoenix”) (collectively, “Aligned”) hereby plead the following counterclaims against

Counterclaim-defendant Switch, Ltd. (“Switch”), and alleges as follows:

                                          THE PARTIES

       1.      Aligned Data Centers is a limited liability company organized and existing under

the laws of the State of Delaware with a principal place of business at 60 Backus Ave., Danbury,

CT 06810.

       2.      ADC Phoenix is a limited liability company organized and existing under the laws

of the State of Delaware with a principal place of business located at 2500 West Union Hills

Drive, Phoenix, Arizona 85027.

       3.      ADC DFW is a limited liability company organized and existing under the laws

of the State of Delaware with a principal place of business located at 2800 Summit Ave., Plano,

TX 75074.

       4.      Switch is a limited liability company organized and existing under the laws of the

State of Nevada with a principal place of business located at 7135 South Decatur Boulevard, Las

Vegas, Nevada 89118.

                                 JURISDICTION AND VENUE

       5.      This Court has subject matter jurisdiction over this action and the matters pleaded

herein under 28 U.S.C. §§ 1331 and 1338(a) because this action arises under the federal

Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq., and the Patent Act of the United States, 35

U.S.C. §§ 1 et seq. Aligned seeks a declaration from this Court that its business, its data centers,

and the technology, methods, processes, and apparatuses deployed therein do not infringe any

valid claim of U.S. Patent Nos. 8,072,780 (“’780 patent”), 8,180,495 (“’495 patent”), and

9,622,389 (“’389 patent”) (collectively, “Patents-In-Suit”). Aligned further seeks a declaration

from this Court that the Patents-in-Suit are invalid.


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        6.       This Court also has subject matter jurisdiction over this action and the matters

pleaded herein under 28 U.S.C. § 1331 because this action arises under the Lanham Act, 15

U.S.C. §§ 1051 et seq. Aligned alleges that Switch’s communications with a potential Aligned

customer that is based in California and Switch’s communications to others prior to filing this

suit constitute unfair competition under applicable federal law.

        7.       Pursuant to 28 U.S.C. § 1367(a), this Court has supplemental jurisdiction over

Aligned’s claims for relief under Texas state law.
        8.       This Court has personal jurisdiction over Switch as a result of Switch having filed

its claims in this district.

        9.       Venue is proper in this district pursuant to 28 U.S.C. § 1400(b) as a result of

Switch having filed its claims in this district.

                                   GENERAL ALLEGATIONS

                                             Background

        10.      Aligned, together with its affiliated entities, is an industry-recognized leading

developer of differentiated technology and a provider of data centers and data center services. It

has 60 U.S. and foreign patents and pending patent applications for its mechanical, electrical and

design innovations. Its foundational cooling technology patent applications were accepted into

the USPTO’s selective “Green Technology Pilot Program” for accelerated review and several

patents were issued in 2012 under that program. Recently, it received an Edison Award in 2016

and has been independently evaluated by MTechnology as the most reliable it has ever assessed.

Numerous engineering firms have recognized the novelty of its cooling technology. (See, e.g.,

Norman Disney Young Report on the Inertech system, dated December 13, 2012.)

        11.      Switch is also a provider of data centers and data center services.

        12.      Aligned and Switch are competitors in the field of data center services and, as a

result, compete for many of the same customers.




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       13.     Prior to initiation of this suit, Aligned and, on information and belief, Switch were

seeking to execute a contract to provide data center services to a third-party customer located in

San Francisco, California (the “California customer”).

                                        The Patents-In-Suit

       14.     The ’780 patent is entitled, “Integrated Wiring System and Thermal Shield

Support Apparatus for a Data Center,” was filed on March 30, 2009, and issued on December 6,

2011. The abstract of the ’780 patent states, “Described herein is an integrated data center that

provides for efficient cooling, as well as efficient wire routing, and in particular a support for a

thermal shield, distribution wiring, as well as cabinet cluster wiring.” The figure on the face of

the ’780 patent is as follows:




       15.     The ’389 patent is entitled, “Electronic Equipment Data Center and Server Co-

location Facility Configurations and Method of Using the Same,” was filed on March 18, 2014,

and issued on April 11, 2017. The abstract of the ’389 patent states, “Described herein is an

integrated data center that provides for efficient cooling, as well as efficient wire routing, and in

particular a configuration in which electronic equipment cabinets are arranged in rows within

thermal compartments where the cabinets may be rolled in and out of place as required and a

frame supports thermal shields of the thermal compartment.” The figure on the face of the ’389

patent is as follows:




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       16.     The ’495 patent is entitled, “Air Handling Control System for a Data Center,” was

filed on March 30, 2009, and issued on May 15, 2012. The abstract of the ’495 patent states,

“Described herein is an integrated data center that provides for efficient cooling, as well as

efficient wire routing, and in particular a control system for controlling the temperature and

pressure within the data center.” The figure on the face of the ’495 patent is as follows:




       17.     As acknowledged in the specification of the Patents-In-Suit, a well-known aspect

to the design of data center facilities is “to have the electronic equipment placed into rows, and



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further to have parallel rows of equipment configured back-to back so that each row of

equipment generally forces the heat from the electronic equipment toward a similar area, known

as a hot aisle, as that aisle generally contains warmer air that results from the forced heat from

the electronics equipment. In front of the equipment is thus established a cold aisle.” (D.I. 1-1

(’780 patent) at col. 1:49-57; D.I. 1-2 (’495 patent) at col. 1:47-55; D.I. 1-3 (’389 patent) at col.

1:53-61.) One of the elements the Patents-In-Suit describes and claims as a point of novelty in

its system is the use of a thermal shield that defines a hot air containment chamber for
compartmentalizing server heat in the hot aisle. (See generally D.I. 1-1, 1-2, 1-3.) Yet, such

shields and chambers have existed in the prior art well before the priority dates of the Patents-In-

Suit.

        18.    For example, upon information and belief, “Hot Aisle Containment Systems”

have been publicly disclosed since at least 2003. (See U.S. Patent No. 6,859,366 (Fink).)

Companies such as APC have used such systems and ducted air cooling systems that Switch’s

technology appears derivative of since at least 2006. (See J. Niemann, APC Application Note

#92: Best Practices for Designing Data Centers with InfraStruXure InRow RC (2006).) Such

hot aisle containment systems can be added to the hot aisle to improve the predictability of its

cooling systems, reduce the opportunity for hot air to mix with the room, and improve the sphere

of influence of its cooling systems. (Id. at 6.) APC’s hot aisle containment system is made up of

roof panels and door kits disposed between two rows of servers for thermal

compartmentalization of the heat generated in the hot aisle. (Id. at 6-7.)

        19.    In order to ensure that there is adequate cooling capacity for the containment

system, APC publishes best practices and factors to consider in designing a solution with hot

aisle containment. (Id.) APC further explains, “The Hot Aisle Containment System” encloses

an aisle to collect and cool equipment exhaust, making it available for cool air intakes. This
creates a self-contained system capable of supporting high power density loads.” (See APC Hot

Aisle Containment System, Installation Guide (2005) at 3.)




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       20.     Beyond the general prior art idea of hot air in aisles of computer equipment,

Switch’s patent claims at issue are directed to tiered configurations for brackets and rack

supports – i.e., the physical mounting for components and wiring racks. An example of the

claimed tiered rack supports is shown in Figure 6A of the ’780 and ’495 patents:




(See, e.g., D.I. 1-1, Fig 6A, claim 1; D.I. 1-2, Fig. 6A.) Setting up tiers for electronic

components or wiring is not novel, inventive, non-obvious or patentably distinct. Nor is using

brackets to support tiers, or using cable trays to support cables, and further evidentiary support

for the non-novel and obvious nature of the asserted claims is likely to be identified after a

reasonable opportunity for further investigation and discovery.

                              Switch’s Accusations Against Aligned

       21.     On July 21, 2017, Switch sent a letter to Aligned’s Chief Executive Officer, Mr.

Andrew Schaap. (D.I. 1-4.)

       22.     Switch’s letter purported to be “curious” about the “customer pod” designs in

Aligned’s data centers. Switch admitted that it did not have a basis to claim infringement

regarding Aligned’s proprietary technology, instead stating that it had a “need to evaluate

whether Aligned Data Center’s current facilities or advertised prototypes may read on Switch’s

patents,” noting that it had “questions as to what extent” there might be any similarity between

the competing technologies.



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       23.     Switch’s letter was carefully worded to avoid any accusation or allegation—either

express or implied—of patent infringement. Instead, Switch’s letter merely asserts Switch’s

ownership of the Patents-In-Suit, expresses only a curiosity about the makeup of the “customer

pod” designs, requests more information from Aligned regarding Aligned’s data centers and

“customer pod” designs, and admits to the need to still evaluate Aligned’s current facilities to

investigate potential unauthorized practice of Switch’s patents. (See id.)

       24.     Switch’s letter invited Mr. Schaap to contact Switch’s president, Mr. Thomas
Morton, “to avoid error and build a positive relationship.” (Id.) Switch closes its letter “in the

spirit of openness and hope for an expedient and amicable resolution.” (Id.)

                         Switch’s Interference With Aligned’s Business

       25.     Switch’s letter was, at best, a purposeful misdirection. At the same time that it

sent a letter of ‘curiosity’ to Aligned that essentially admitted that it did not have a basis to claim

infringement, on information and belief, Switch communicated with a potential customer for

whom both Aligned and Switch were vigorously competing, and represented to the customer that

Aligned was infringing Switch’s patents. On information and belief, Switch made this

representation to the customer, for which it admitted to Aligned that it did not have a basis, for

the purpose of seeking to prevent the customer from awarding the pending contract to Aligned

instead of Switch.

       26.     On information and belief, Switch has repeated its assertions of patent

infringement regarding Aligned that Switch admitted it did not have a basis for to other industry

participants, seeking to harm Aligned’s reputation in the industry and harm Aligned’s ability to

compete with Switch for business.

       27.     Switch admittedly published these statements without adequate knowledge of or

investigation into whether or not Aligned’s products and services actually infringed any of the

Patents-In-Suit.

       28.     On information and belief, Switch undertook this conduct with respect to the

California customer with the intent to unfairly influence the competition between Aligned and


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Switch for the California customer’s business and not in an attempt to enforce or assert any

rights that Switch may or may not have in the Patents-In-Suit.

       29.     On or about July 27, 2017, the California customer notified Aligned of Switch’s

communications regarding Aligned’s alleged infringement of the Patents-In-Suit. This

negatively affected Aligned’s business prospects with respect to the California customer.

       30.     On August 2, 2017, Aligned’s outside counsel sent a letter to Switch in response

to Switch’s July 21 letter, informing Switch that Aligned did not infringe any of the Patents-In-
Suit and providing specific examples of non-infringement. (See D.I. 1-6.)

       31.     Aligned’s August 2nd letter further informed Switch that Aligned was aware of

the patent infringement accusations Switch made to the California customer and demanded that

Switch cease and desist from making such statements due to the direct harm those statements

have on Aligned’s current and future economic opportunity

       32.     Switch did not reply to the August 2nd letter from Aligned’s outside counsel.

       33.     Instead, five days later, on August 7, 2017, Switch filed the instant suit against

Aligned in this Court alleging infringement of the Patents-In-Suit.

       34.     On information and belief, Switch appears to have filed the instant action in an

effort to shield itself from liability after the fact for its wrongful conduct against Aligned

involving at least the California customer.

                                              COUNT I

                   (Declaratory Judgment Of Non-Infringement Of The ’780 Patent)

       35.     Aligned restates and incorporates by reference each and every allegation

contained in paragraphs 1-34 above as if fully set forth herein.

       36.     Aligned does not infringe and has not infringement (whether directly,

contributorily, or by inducement) literally or under the doctrine of equivalents any valid claim of

the ’780 patent.

       37.     An actual controversy exists between Aligned and Switch based on Switch having

filed its Complaint against Aligned alleging infringement of the ’780 patent.


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       38.     Aligned has been injured and damaged by Switch filing its Complaint asserting a

patent that Aligned does not infringe.

       39.     The Complaint alleges that Aligned infringes claim 1 of the ’780 patent. Claim 1

is the only independent claim of the ’780 patent and recites:
       1. An apparatus for maintaining a configuration of electronic equipment disposed in a
       plurality of cabinets, for supporting a thermal shield that defines a hot air containment
       chamber, and supporting distribution power wires and conduits, electronic equipment
       power wires and conduits, and communication wiring, the plurality of cabinets disposed
       on a floor, the floor being within an internal area of a building, the cabinets positioned in
       a two rows and separated by a hot aisle area so that the electronic equipment disposed in
       the plurality of cabinets emit heated air in a predetermined direction toward the hot aisle
       area between the two rows, the apparatus comprising:
               a plurality of support brackets disposed along each of the two rows that support
               the distribution power wires and conduits, the electronic equipment power wires
               and conduits, and the communication wiring on one side of the plurality of
               support brackets, and support the thermal shield on another side plurality of
               support brackets, wherein a portion of each of the support brackets is adapted for
               connection above the plurality of cabinets, each of the support brackets including,
               in the portion adapted for connection above the plurality of cabinets:
               a plurality of tiered ladder rack supports on the one side to establish a plurality of
               different tiers outside of the hot air containment chamber, so that each of the
               different tiers is adapted to hold the electronic equipment power wires and
               conduits and the communication wiring, and
               a plurality of conduit holders disposed on the one side above the plurality of tiered
               ladder rack supports, each of the conduit holders in each of the plurality of
               support brackets aligned with corresponding ones of conduit holders in the other
               plurality of support brackets, for holding a plurality of the distribution power
               wires and conduits.

       40.     In the Complaint, Switch sets forth only a single paragraph as its statement of

alleged infringement of the ’780 patent entitling it to relief. (D.I. 1, ¶ 59.) In that paragraph,

Switch shows only two pictures of Aligned’s system and then alleges that Aligned data centers

contain “an apparatus with “support brackets,” “cabinets,” a thermal shield,” “tiered ladder racks

supports,” and “conduit holders” as claimed in the ’780 patent.” (D.I. 1, ¶ 59.)
       41.     The plain language of claim 1 (reproduced above in paragraph 39), however,

requires significantly more than the mere existence of those components in an accused system.




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In fact, even assuming that all those components existed in Aligned systems – which they do not

– that alone is insufficient to prove infringement of each and every limitation set forth in claim 1

of the ’780 patent.

       42.     Switch’s Complaint fails to set forth a basis for its claim of infringement – it

merely parrots certain specific structures listed in claim 1 that Switch does not and cannot claim

that it invented. Switch’s lack of a basis to claim infringement is confirmed by its July 21, 2017

correspondence to Aligned identifying the ’780 patent, wherein Switch admittedly lacked
sufficient information to allege infringement and specifically avoided making any allegation that

Aligned infringed a Switch patent. (See D.I. 1-4.)

       43.     The Aligned systems operate and are designed using innovative technologies,

particularly for efficiently removing server heat, that are entirely distinct from that which is

embodied in the ’780 patent. And, as clearly shown in the cited pictures in Switch’s Complaint

and as explained below, Switch is, or should have been aware, that Aligned systems do not

contain at least the components called out in paragraph 59 of the Complaint in the manner and

orientation required for the apparatus of claim 1 of the ’780 patent. Switch’s claim of

infringement in the Complaint that relies on evidence that undisputedly establishes non-

infringement is groundless, and is evidence of a lack of good faith.

       44.     Because claim 1 is the sole independent claim of the ’780 patent, if Aligned does

not meet even a single limitation of claim 1, it cannot infringe claim 1 and cannot infringe any of

the remaining claims in the ’780 patent.

       45.     Aligned does not infringe claim 1 (or any other claim) of the ’780 patent. As one

example of why Switch’s claim of infringement of the ’780 patent cannot be correct, claim 1 of

the ’780 patent requires “support brackets disposed along each of the two rows that support

distribution power wires and conduits, the electronic equipment power wires and conduits, and
the communication wiring on one side of the plurality of support brackets, and support the

thermal shield on another side [of the] plurality of support brackets.”




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       46.     However, as clearly illustrated in the very images that Switch submitted with its

Complaint, there are no such support brackets as required by the claim. First, as the images

depict, the communication wiring exists on a single layer IT cable tray on the outside of the

polycarbonate hard windows and the tray itself is suspended using support bars attached to the

building ceiling grid Aligned installs. The support bars could not possibly support any “thermal

shield” as required by the claim, since they are only attached to the tray. Nor do the support bars

support any electronic power wiring as required by the claim since, as clearly depicted in the
pictures Switch submits, power is supplied through a system such as a Starline® Track Busway

system (first introduced in 1987) that runs down the inside of the aisle (and, as depicted, on the

opposite side of the polycarbonate windows and nowhere near the cable trays or their support

bars). Because the single tray support bars only support the IT cable tray, they do not and cannot

support anything on “another side,” as claim 1 requires. Nor is there a thermal shield as claimed

in the ’780 patent. Switch’s own submitted evidence establishes that Aligned’s depicted system

cannot meet the asserted claim.




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       47.     The above is not the only reason that Switch’s claim of infringement is

objectively baseless. The depicted Aligned system also, and independently, does not contain the

“plurality of tiered ladder rack supports on the one side to establish a plurality of different tiers

outside of the hot air containment chamber, so that each of the different tiers is adapted to hold

the electronic equipment power wires and conduits and the communication wiring,” as also

required by claim 1 of the ’780 patent.
       48.     As clearly illustrated in the images in paragraph 46 above, which are the images

that Switch submitted in its Complaint, there is only a single IT cable tray (on each side of the

hot aisle row) that is suspended and kept in place by support bars attached to the building ceiling

grid system. The trays themselves, which support only network communication wiring, are not

“ladder rack” supports, nor are they “tiered.” Furthermore, the depicted Aligned system runs its

power wires and conduits through the hot aisle via busways, not along the outside of the hot aisle

together with the communication wiring, as claim 1 requires.

       49.     Additionally, the Aligned system does not contain “a plurality of conduit holders

disposed on the one side above the plurality of tiered ladder rack supports, each of the conduit


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holders in each of the plurality of support brackets aligned with corresponding ones of conduit

holders in the other plurality of support brackets, for holding a plurality of the distribution power

wires and conduits”, as recited in claim 1 of the ’780 patent.

       50.     As shown below in the images from a video clip cited in the Complaint as

evidence of alleged infringement, the Aligned system runs the server power lines and their

conduits through the hot aisle. Claim 1, however, requires that such conduit holders be on the

same side as (and above) the support structure for the communication wiring. And, according to
the claim, the support structure is required to be on the outside of the claimed “hot air

containment chamber.”




       51.     Switch’s claim of infringement of claim 1 of the ’780 Patent is demonstrably

incorrect based on the very images and documents that Switch itself submitted in its Complaint.

Because, under prevailing law, Switch’s basis for its claim of infringement is required to be set

forth in the Complaint, the Complaint is evidence that Switch does not have a good faith basis to


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claim infringement, and did not have a good faith basis to represent to Aligned’s prospective

customer that Aligned infringes any Switch patents. Aligned seeks a declaration that it does not

infringe and has not infringed (whether directly, contributorily, or by inducement) literally or

under the doctrine of equivalents any valid claim of the ’780 patent.

                                            COUNT II

                    (Declaratory Judgment Of Invalidity Of The ’780 Patent)

       52.     Aligned restates and incorporates by reference each and every allegation

contained in paragraphs 1-51 above as if fully set forth herein.

       53.     The claims of the Patent-in-Suit are invalid under 35 U.S.C. § 101 et seq.,

including one or more of 35 U.S.C. §§ 101, 102, 103, and/or 112. Aligned reserves the right to

identify and rely upon prior art that may be discovered as discovery progresses in this action.

       54.     An actual controversy exists between Aligned and Switch based on Switch having

filed its Complaint against Aligned alleging infringement of the ’780 patent.

       55.     Aligned has been injured and damaged by Switch filing its Complaint asserting a

patent that Aligned does not infringe.

       56.     Aligned therefore seeks a declaration that the ’780 patent is invalid for failing to

comply with one or more of the requirements set forth in 35 U.S.C. § 101 et seq., including one

or more of 35 U.S.C. §§ 101, 102, 103, and/or 112.

                                           COUNT III

                (Declaratory Judgement of Non-Infringement Of The ’389 Patent)

       57.     Aligned restates and incorporates by reference each and every allegation

contained in paragraphs 1-56 above as if fully set forth herein.

       58.     Aligned does not infringe and has not infringement (whether directly,

contributorily, or by inducement) literally or under the doctrine of equivalents any valid claim of

the ’389 patent.

       59.     An actual controversy exists between Aligned and Switch based on Switch having

filed its Complaint against Aligned alleging infringement of the ’389 patent.


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           60.    Aligned has been injured and damaged by Switch filing its Complaint asserting a

patent that Aligned does not infringe.

           61.    The Complaint alleges that Aligned infringes claim 1 of the ’389 patent. Claim 1

recites:
           1. An apparatus for maintaining a configuration of electronic equipment disposed in a
           plurality of cabinets, for supporting a thermal shield that defines a hot air containment
           chamber, for supporting a thermal barrier ceiling, for supporting cool air ductwork and
           for supporting distribution power wires and conduits, electronic equipment power wires
           and conduits, and communication wiring, the plurality of cabinets disposed on a floor, the
           floor being within an internal area of a building, the cabinets positioned into two parallel
           rows that are separated by a hot aisle area so that the electronic equipment disposed in the
           plurality of cabinets emit heated air in a predetermined direction toward the hot aisle area
           between the two rows, the apparatus comprising:
                  an interior frame structure that is independent of and not structurally tied to the
                  plurality of cabinets, the interior frame structure including:
                  a first plurality of vertical support brackets disposed only at ends of the two rows,
                  each vertical support bracket being disposed on the floor at one end and assists in
                  supporting the thermal barrier ceiling at another end, wherein the first plurality of
                  vertical support brackets each further support portions of the thermal shield on
                  one side of the first plurality of vertical support brackets at a location above a top
                  of the plurality of cabinets, wherein the cabinets positioned in the two parallel
                  rows are separated by the hot aisle area, and wherein a cross sectional area of the
                  hot air containment chamber defined by the thermal shield and parallel with the
                  floor is disposed directly above and encompasses a cross sectional area of the hot
                  aisle area that is located between the two parallel rows of cabinets and is parallel
                  with the floor;
                  a first horizontal support bracket disposed above a cabinet height that intersects a
                  middle hot aisle portion so that an area on two opposite sides of each hot aisle
                  where the cabinets can be placed does not have any vertical support brackets
                  disposed therein;
                  a second plurality of horizontal support brackets that are each parallel with the
                  floor, each of the second plurality of horizontal support brackets connecting
                  together two different ones of the first plurality of vertical support brackets and
                  connecting to each of the two different ones of the first plurality of vertical
                  support brackets at a height that is above the cabinet height;
                  a plurality of tiered ladder rack supports, each connected to another side of at least
                  some of the first plurality of vertical support brackets that is opposite the one side,
                  which establish a plurality of different tiers outside of the hot air containment
                  chamber, so that each of the different tiers is adapted to hold the electronic
                  equipment power wires and conduits and the communication wiring;



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               and a second plurality of vertical support brackets disposed in a row, substantially
               parallel to the two rows, each second vertical support bracket being disposed on
               the floor at one end and assists in supporting the thermal barrier ceiling at another
               end, wherein the second plurality of vertical support brackets each further support
               portions of the cool air ductwork.

       62.     In the Complaint, Switch sets forth only a single paragraph as its statement of

alleged infringement of the ’389 patent entitling it to relief. (D.I. 1, ¶ 61.) In that paragraph,

Switch shows only two still pictures from videos of Aligned’s system and then alleges that

Aligned data centers contain “an apparatus with “vertical support brackets,” “horizontal support
brackets,” “tiered ladder rack supports,” a “thermal barrier ceiling” and “thermal shield” as

claimed in the ’389 patent.” (D.I. 1, ¶ 61.)

       63.     The plain language of claim 1 (reproduced above in paragraph 61), however,

requires significantly more than the mere existence of those components in an accused system.

In fact, even assuming that all those components existed in Aligned systems – which they do not

– that alone is insufficient to prove infringement of each and every limitation set forth in claim 1

of the ’389 patent.

       64.     Switch’s Complaint fails to set forth a basis for its claim of infringement – it

merely parrots certain specific structures listed in claim 1 that Switch does not and cannot claim

that it invented. Switch’s lack of a basis to claim infringement is confirmed by its July 21, 2017

correspondence to Aligned identifying the ’389 patent, wherein Switch admittedly lacked

sufficient information to allege infringement and specifically avoided making any allegation that

Aligned infringed and Switch patent. (See D.I. 1-4.)

       65.     The Aligned systems operate and are designed using innovative technologies,

particularly for high efficiency cooling of data center servers, that are entirely distinct from that

which is embodied in the ’389 patent. And, as clearly shown in the pictures cited in Switch’s

Complaint and as explained below, Switch is, or should have been aware, that Aligned systems
do not contain at least the components called out in paragraph 61 of the Complaint in the manner

and orientation required for the apparatus of claim 1 of the ’389 patent. Switch’s claim of



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infringement in the Complaint that relies on evidence that undisputedly establishes non-

infringement is groundless, and is evidence of a lack of good faith.

          66.   The ’389 has two independent claims: claims 1 and 10. Claim 10 is a method

claim that recites similar and many of the same limitations of the apparatus claimed in claim 1.

For at least the same reasons explained below with respect to claim 1 of the ’389 patent, Aligned

systems do not infringe independent claim 10. And, if Aligned’s systems do not meet even a

single limitation of the two independent claims, they cannot infringe any of the remaining claims
in the ’389 patent.

          67.   Aligned does not infringe claim 1, or any other claim, of the ’389 patent. For

example, the Aligned system does not contain “a thermal shield that defines a hot air

containment chamber” or “a thermal barrier ceiling”, as recited in claim 1 of the ’389 patent.

          68.   As shown in the following images, which Switch relies upon in its Complaint as

evidence of alleged infringement, the Aligned system uses an innovative and unique patented

system that does not utilize thermal shields that define a hot air containment chamber or a

thermal barrier ceiling. Rather, the Aligned system uses a closed-loop distribution system that

pumps refrigerant to the microchannel coils above each rack to remove heat directly at the rack

level. In other words, the cooling system at the top of the hot aisle cannot be a thermal barrier

ceiling as it functions to remove heat entirely at the server racks via refrigerant circulating

through microchannel coils above the server racks. And, the polycarbonate hard containment

windows are not thermal shields, nor do they function as thermal shields according to the ’389

patent.




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       69.     Moreover, the Aligned system does not contain “cool air ductwork” as recited in

claim 1 of the ’389 patent. Rather, Aligned uses an innovative approach to remove heat directly

at the source (e.g., the server racks) by circulating refrigerant through microchannel coils placed

directly above the server racks, rather than the less efficient method of removing heat by

transporting hot and cold air through ducts and/or plenums in a duct distribution system. This is

a fundamental competitive difference between Aligned’s novel solution and systems, such as

Switch’s, that rely on conventional techniques.
       70.     As explained and shown in the images in paragraph 68 above, the Aligned system

does not utilize cool air or cool air ducting to remove heat from the hot aisle. Rather, as

explained, the system uses refrigerant pumped to microchannel coils to directly remove heat

between the server rows. Indeed, at 1:22 to 1:29 of the video found at

https://www.youtube.com/watch?v=KCaPCc6eHpk, which is cited in the Complaint, it is

explained that, “rather than pushing cold air in,” Aligned’s “cooling system removes heat

instead.”

       71.     Additionally, the Aligned system does not contain “a plurality of tiered ladder

rack supports, each connected to another side of at least of the first plurality of vertical support

brackets that is opposite the one side, which establish a plurality of different tiers outside the hot

air containment chamber, so that each of the different tiers is adapted to hold the electronic

equipment power wires and conduits and the communication wiring”, as recited in claim 1 of the

’389 patent.

       72.     As shown below, there is only a single IT cable tray (on each side of the hot aisle

row) that is suspended and kept in place by support bars attached to the building ceiling grid

system. The trays themselves, which support only network communication wiring, are neither

multiple “ladder rack” supports connected to one side of vertical support brackets, nor are they
“tiered.” Furthermore, the Aligned system runs its power wires and conduits through the hot

aisle via busways, not along the outside of the hot aisle together with the communication wiring.




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       73.     Switch’s claim of infringement of claim 1 of the ’389 Patent is demonstrably

incorrect based on the very images and documents that Switch itself submitted in its Complaint.

Because, under prevailing law, Switch’s basis for its claim of infringement is required to be set

forth in the Complaint, the Complaint is evidence that Switch does not have a good faith basis to
claim infringement, and did not have a good faith basis to represent to Aligned’s prospective

customer that Aligned infringes any Switch patents. Aligned seeks a declaration that it does not

infringe and has not infringed (whether directly, contributorily, or by inducement) literally or

under the doctrine of equivalents any valid claim of the ’389 patent.

                                           COUNT IV

                    (Declaratory Judgment Of Invalidity Of The ’389 Patent)

       74.     Aligned restates and incorporates by reference each and every allegation

contained in paragraphs 1-73 above as if fully set forth herein.




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           75.    The claims of the Patent-in-Suit are invalid under 35 U.S.C. § 101 et seq.,

including one or more of 35 U.S.C. §§ 101, 102, 103, and/or 112. Aligned reserves the right to

identify and rely upon prior art that may be discovered as discovery progresses in this action.

           76.    An actual controversy exists between Aligned and Switch based on Switch having

filed its Complaint against Aligned alleging infringement of the ’389 patent.

           77.    Aligned has been injured and damaged by Switch filing its Complaint asserting a

patent that Aligned does not infringe.
           78.    Aligned therefore seeks a declaration that the ’389 patent is invalid for failing to

comply with one or more of the requirements set forth in 35 U.S.C. § 101 et seq., including one

or more of 35 U.S.C. §§ 101, 102, 103, and/or 112.

                                               COUNT V

                   (Declaratory Judgement of Non-Infringement Of The ’495 Patent)

           79.    Aligned restates and incorporates by reference each and every allegation

contained in paragraphs 1-78 above as if fully set forth herein.

           80.    Aligned does not infringe and has not infringement (whether directly,

contributorily, or by inducement) literally or under the doctrine of equivalents any valid claim fo

the ’495 patent.

           81.    An actual controversy exists between Aligned and Switch based on Switch having

filed its Complaint against Aligned alleging infringement of the ’495 patent.

           82.    Aligned has been injured and damaged by Switch filing its Complaint asserting a

patent that Aligned does not infringe.

           83.    The Complaint alleges that Aligned infringes claim 1 of the ’495 patent. Claim 1

recites:
           1. An apparatus for cooling electronic equipment contained within a floor of a building,
           in conjunction with a plurality of air conditioning units that each create cool air and
           include an exhaust fan and a cooling fan and a plurality of actuators that control a
           plurality of dampers associated with the plurality of air conditioning units, the apparatus
           comprising:



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               a plurality of cabinets disposed on the floor of the building for holding the
               electronic equipment therein, the plurality of cabinets positioned in a plurality of
               rows within each of a plurality of cabinet clusters so that the electronic equipment
               disposed within the cabinets emit heated air from the cabinets in each row of each
               cabinet cluster toward a central hot air area associated with each cabinet cluster;
               a hot air containment chamber disposed within the building over each of the
               plurality of cabinet clusters that traps the heated air within the central hot air area
               and causes substantially all the heated air within the central hot air area to rise up
               within the hot air containment chamber and exit through a hot air escape opening
               of the associated hot air containment chamber;
               a warm air escape gap disposed within the building and disposed above each of
               the hot air containment chambers, the warm air escape gap collecting the heated
               air from each of the hot air containment chambers and feeding the heated air to
               the air conditioning units, the warm air escape gap being lowerly bounded by a
               ceiling, wherein the ceiling contains ceiling openings that each align with one of
               the hot air escape openings in each of the hot air containment chambers;
               cool air ducts disposed within the building that deliver the cool air from the
               plurality of air conditioning units toward a periphery of the plurality of rows of
               cabinets within each of the plurality of cabinet clusters; and
               a control system, the control system comprising:
                       a plurality of temperature sensors, at least one temperature sensor located
                       inside each of the central hot air areas associated with each cabinet cluster,
                       at least one temperature sensor located outside each of the plurality of
                       cabinet clusters, and at least one temperature sensor located in the warm
                       air escape gap;
                       a plurality of pressure differential sensors, at least one pressure differential
                       sensor located inside each of the plurality of hot air containment
                       chambers, at least one pressure differential sensor located outside each of
                       the plurality of hot air containment chambers, and at least one pressure
                       differential sensor located in the warm air escape gap; and
                       a computer system, the computer system receiving signals from each of
                       the plurality of temperature sensors and each of the plurality of pressure
                       differential sensors, and providing control signals to control the exhaust
                       fan, the cooling fan, and the plurality of actuators in order to control the
                       temperature of the cooled air and a pressure differential that exists
                       between an area within the hot air containment chamber for each of the
                       cabinet clusters and a different area outside of each of the cabinet clusters.

       84.     In the Complaint, Switch sets forth only a single paragraph as its statement of

alleged infringement of the ’495 patent entitling it to relief. (D.I. 1, ¶ 63.) In that paragraph,

Switch shows only two still pictures from videos of Aligned’s system and then alleges that



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Aligned data centers contain “an apparatus with “cabinets,” a “hot air containment chamber,”

and a “warm air escape gap” as claimed in the ’495 patent.” (D.I. 1, ¶ 63.)

        85.    The plain language of claim 1 (reproduced above in paragraph 83), however,

requires significantly more than the mere existence of those components in an accused system.

In fact, even assuming that all those components existed in Aligned systems – which they do not

– that alone is insufficient to prove infringement of each and every limitation set forth in claim 1

of the ’495 patent.
        86.    Switch’s Complaint fails to set forth a basis for its claim of infringement – it

merely parrots certain specific structures listed in claim 1 that Switch does not and cannot claim

that it invented. Switch’s lack of a basis to claim infringement is confirmed by its July 21, 2017

correspondence to Aligned, in which Switch did not even identify the ’495 patent at all. (See

D.I. 1-4.)

        87.    The Aligned systems operate and are designed using innovative technologies,

particularly highly-efficient cooling systems that, among other things, absorb heat at its source

using a refrigerant flowing through microchannel coils placed above the server racks and

transport the heated refrigerant to a refrigerant-to-water heat exchanger, where heat is removed

from the refrigerant. Aligned’s innovative technologies are entirely distinct from that which is

embodied in the ’495 patent. And, as clearly shown in the pictures cited in Switch’s Complaint

and as explained below, Switch is, or should have been aware, that Aligned systems do not

contain at least the components called out in paragraph 63 of the Complaint in the manner and

orientation required for the apparatus of claim 1 of the ’495 patent. Switch’s claim of

infringement in the Complaint that relies on evidence that undisputedly establishes non-

infringement is groundless, and is evidence of a lack of good faith.

        88.    The ’495 has two independent claims: claims 1 and 21. Claim 21 is an apparatus
claim that recites many of the same limitations of the apparatus claimed in claim 1. And, for at

least the same reasons explained below with respect to claim 1 of the ’495 patent, Aligned

systems do not infringe independent claim 21. And, if Aligned systems do not meet even a


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single limitation of the two independent claims, they cannot infringe any of the remaining

dependent claims in the ’495 patent.

       89.     Aligned does not infringe claim 1, or any other claim, of the ’495 patent. For

example, the Aligned system does not contain “a warm air escape gap disposed within the

building and disposed above each of the hot air containment chambers, the warm air escape gap

collecting the heated air from each of the hot air containment chambers and feeding the heated

air to the air conditioning units, the warm air escape gap being lowerly bounded by a ceiling,
wherein the ceiling contains ceiling openings that each align with one of the hot air escape

openings in each of the hot air containment chambers”, as recited in claim 1 of the ’495 patent.

       90.     As shown in the following images, which Switch relies upon in its Complaint as

evidence of alleged infringement, the Aligned system uses a refrigerant distribution system at the

top of the hot aisle that distributes refrigerant to microchannel coils above each rack to remove

heat directly at the rack level. In other words, the system does not emit hot air or require the use

of a warm air escape gap that is disposed anywhere at the top of the system. The system is

simply not designed to collect and “trap” heated air from anywhere in the hot aisle and then feed

such heated air to air conditioning units. In fact, because heat is transferred to refrigerant

directly at the rack level using microchannel coils, no hot air containment chamber with “hot air

escape openings” is necessary. And, it follows then that there is no building openings that align

with a hot air escape opening in a hot air containment chamber.




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       91.     Moreover, the Aligned system does not contain “cool air ducts disposed within

the building that deliver the cool air from the plurality of air conditioning units toward a

periphery of the plurality of rows of cabinets within each of the plurality of cabinet clusters”, as

recited in claim 1 of the ’495 patent.



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       92.     As explained and shown in the images in paragraph 68 and 90 above, the Aligned

system does not utilize cool air or cool air ducting to remove heat from the hot aisle. Rather, as

explained, the Aligned system uses refrigerant and microchannel coils placed above server racks

to remove heat between the server rows. Indeed, at 1:22 to 1:29 of the video found at

https://www.youtube.com/watch?v=KCaPCc6eHpk, which is cited in the Complaint, it is

explained that, “rather than pushing cold air in,” Aligned’s “cooling system removes heat

instead.”
       93.     The Aligned system also does not have “pressure differential sensors” as required

by claim 1. Switch appears to be aware that Aligned does not use “pressure differential sensors,”

because Switch conspicuously does not point to any document or statement providing any

evidence of any “pressure differential sensors” in Aligned’s systems. See (D.I. 1, ¶¶ 64-67.)

       94.     Switch’s claim of infringement of claim 1 of the ’495 Patent is demonstrably

incorrect based on the images and documents that Switch submitted in its Complaint. Because,

under prevailing law, Switch’s basis for its claim of infringement is required to be set forth in the

Complaint, the Complaint is evidence that Switch does not have a good faith basis to claim

infringement, and did not have a good faith basis to represent to Aligned’s prospective customer

that Aligned infringes any Switch patents. Aligned seeks a declaration that it does not infringe

and has not infringed (whether directly, contributorily, or by inducement) literally or under the

doctrine of equivalents any valid claim of the ’495 patent.

                                            COUNT VI

                    (Declaratory Judgment Of Invalidity Of The ’495 Patent)

       95.     Aligned restates and incorporates by reference each and every allegation

contained in paragraphs 1-94 above as if fully set forth herein.

       96.     The claims of the Patent-in-Suit are invalid under 35 U.S.C. § 101 et seq.,

including one or more of 35 U.S.C. §§ 101, 102, 103, and/or 112. Aligned reserves the right to

identify and rely upon prior art that may be discovered as discovery progresses in this action.




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       97.     An actual controversy exists between Aligned and Switch based on Switch having

filed its Complaint against Aligned alleging infringement of the ’495 patent.

       98.     Aligned has been injured and damaged by Switch filing its Complaint asserting a

patent that Aligned does not infringe.

       99.     Aligned therefore seeks a declaration that the ’495 patent is invalid for failing to

comply with one or more of the requirements set forth in 35 U.S.C. § 101 et seq., including one

or more of 35 U.S.C. §§ 101, 102, 103, and/or 112.

                                           COUNT VII
                                (Violation of Lanham Act § 43(a))

       100.    Aligned restates and incorporates by reference each and every allegation

contained in paragraphs 1-99 above as if fully set forth herein.

       101.    On information and belief, Switch made false and misleading statements to the

California customer regarding Aligned’s products and services in the course of a competitive

bidding process between Aligned and Switch for the California customer’s business. Switch

made such statements in an attempt to promote Switch’s products and services over Aligned’s

products and services.

       102.    On information and belief, Switch’s statements were likely to deceive and

actually did deceive the California customer into believing that Aligned’s products and services

infringe the Patents-In-Suit.

       103.    On information and belief, Switch’s statements were material to the decision to be

made by the California customer Switch and Aligned and were likely to influence the California

customer into purchasing data center services from an entity other than Aligned.

       104.    On information and belief, Switch, a Nevada-based company, placed these false

statements into interstate commerce when it directed them at the California customer from

Switch’s Nevada headquarters.

       105.    Switch’s statements to the California customer and others that Aligned infringes

the Patents-In-Suit were and are objectively baseless. Contemporaneous with its claims to others


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that Aligned infringed Switch’s patents, Switch admitted to Aligned that it did not have

sufficient information to claim that Aligned infringed any Switch patent. When Aligned

confronted Switch regarding its tortious conduct, Aligned provided to Switch a detailed

statement regarding multiple specific required elements of Switch’s patents that are not present

in Aligned data center systems. Nevertheless, after receipt of this information, Switch continued

to interfere with Aligned’s business and also did not deny that it had previously made statements

to others, including Aligned’s prospective customer, baselessly claiming that Aligned infringed
Switch patents.

       106.    Rather than correct its misstatements, Switch then filed this lawsuit. On

information and belief, Switch filed its lawsuit after Switch had already made objectively

baseless claims to others regarding alleged infringement by Aligned. As set forth in detail

above, Switch’s lawsuit confirms that Switch did not have a basis to claim infringement when it

interfered with Aligned’s business opportunities, because the evidence cited in Switch’s lawsuit

establishes that Aligned does not infringe any asserted claim of any Switch patent.

       107.    On information and belief, Switch has made its allegations that Aligned infringes

the Patents-In-Suit in bad faith because Switch knows that Aligned does not infringe the Patents-

In-Suit and/or that the Patents-In-Suit are invalid.

       108.    On information and belief, Switch made these false statements to the California

customer and others not to assert or enforce any property rights it may have in the Patents-In-

Suit, but to injure free and fair competition between Aligned and Switch for the California

customer’s business.

       109.    Aligned is subject to actual or probable injury from Switch’s false statements to

the California customer and others due to the likelihood of those statements to cause the

California customer and others to unfairly devalue Aligned during competition for the California
customer’s business.




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                                          COUNT VIII

                   (Tortious Interference With Prospective Business Relations)

       110.    Aligned restates and incorporates by reference each and every allegation

contained in paragraphs 1-109 above as if fully set forth herein.

       111.    Prior to the commencement of the present suit by Switch, Aligned had

contemplated a contract of economic benefit with the California customer concerning the

purchase of data center services from Aligned.

       112.    On information and belief, Switch was aware of that contemplated contract.

       113.    On information and belief, Switch intentionally and improperly interfered with

Aligned’s contemplated contract of economic benefit by communicating with the California

customer that Aligned infringed the Patents-In-Suit and by filing this lawsuit on August 7, 2017.

       114.    On information and belief, Switch’s conduct with respect to the California

customer was independently wrongful and tortious under both federal and state law.

       115.    Aligned has suffered a loss of business and prospective economic advantage as a

direct result of Switch’s conduct toward Aligned and the California customer.

       116.    On information and belief, Switch’s allegations that Aligned infringes valid and

enforceable claims of the Patents-In-Suit are objectively baseless. Switch lacks a good faith

belief that Aligned infringes any valid and/or enforceable claims of the Patents-In-Suit,

particularly in view of admissions to that effect in Switch’s correspondence to Aligned on July

21, 2017.

       117.    Switch, by way of its unlawful acts, seeks economic gain by improperly

attempting to enforce patents known to Switch to be not infringed by Aligned and to be invalid

and/or unenforceable.

       118.    On information and belief, Switch has derived, received, and will continue to

derive and receive gains, profits, and advantages from the aforementioned acts of tortious

interference in an amount which is not presently known to Aligned. By reason of these acts,

Aligned is entitled to an award of damages in an amount to be proven at trial.


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                                            COUNT IX

                                     (Business Disparagement)

       119.    Aligned restates and incorporates by reference each and every allegation

contained in paragraphs 1-118 above as if fully set forth herein.

       120.    On information and belief, Switch orally published statements to the California

customer, its agents, representatives, attorneys, and/or employees and other persons in the data

center industry (e.g., consultants and brokers) regarding Aligned’s alleged infringement of the

Patents-In-Suit that were disparaging to Aligned and Aligned’s business.

       121.    On information and belief, Switch’s statements to the California customer and

others that Aligned infringes valid and enforceable claims of the Patents-In-Suit were false and

objectively baseless.

       122.    On information and belief, Switch lacks a good faith belief that Aligned infringes

valid and enforceable claims of the Patents-In-Suit, particularly in view of admissions to that

effect in Switch’s correspondence to Aligned on July 21, 2017.

       123.    On information and belief, Switch acted with malice when making its statements

to the California customer and others because Switch knew its statements were false or acted

with reckless disregard to the truth or falsity of those statements.

       124.    On information and belief, Switch acted with ill will towards Aligned, intending

to interfere with and damage Aligned’s economic interests with respect to the California

customer and other business opportunities.

       125.    On information and belief, Switch will make similar disparaging statements to

Aligned’s other current or potential customers unless and until this Court enjoins Switch from

doing so.

       126.    On information and belief, Switch has derived, received, and will continue to

derive and receive gains, profits, and advantages from the aforementioned acts of business

disparagement in an amount which is not presently known to Aligned. By reason of these acts,

Aligned is entitled to an award of damages in an amount to be proven at trial.


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                                        PRAYER FOR RELIEF
        WHEREFORE, Aligned prays for judgment as follows:

        (1)        For a declaration that the manufacture, use, offer for sale, sale, and/or importation

of Aligned’s data center systems, have not infringed, do not infringe, and will not infringe any

valid claim of the Patents-In-Suit;

        (2)        For a declaration that the Patents-In-Suit are invalid;

        (3)        That an injunction be issued enjoining Switch and its agents, representatives,

attorneys, employees, and those persons in active concert or participation with them who receive

actual notice herefrom from threatening or initiating further infringement litigation against

Aligned or its customers, dealers, suppliers, or any prospective or present sellers, dealers,

distributors, or customers of Aligned, based on their manufacture, use, offer for sale, sale, and/or

importation of Aligned systems, or charging them either orally or in writing with infringement of

the Patents-In-Suit, based on their manufacture, use, offer for sale, sale, and/or importation of

Aligned systems;

        (4)        That an injunction be issued enjoining Switch and its agents, representatives,

attorneys, employees, and those persons in active concert or participation with them who receive

actual notice herefrom from making false claims and/or disparaging remarks, orally or in writing,

about Aligned to data center brokers or consultants or potential Aligned customers regarding

alleged infringement of the Patents-In-Suit;

        (5)        For damages for Switch’s violation of Lanham Act § 43(a) in an amount to be

proven at trial;

        (6)        For damages for Switch’s tortious interference with Aligned’s prospective

business relations in an amount to be proven at trial;

        (7)        For damages for Switch’s disparagement of Aligned’s business in an amount to be

proven at trial;

        (8)        That this case be adjudged to be an exceptional case under at least 35 U.S.C.

§ 285, and that the Court award Aligned its attorneys’ fees and costs; and



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        (9)     That the Court award all other and further relief as it deems just and proper.

                                    JURY TRIAL DEMAND

        Pursuant to Federal Rule of Civil Procedure 38(b), Aligned hereby requests a trial by jury

of all issues so triable.

Dated: August 16, 2017                                Respectfully submitted by:

                                                      /s/ Michael E. Jones
                                                      Michael E. Jones
                                                      SBN: 10929400
                                                      POTTER MINTON, PC
                                                      110 North College, Suite 500
                                                      Tyler, Texas 75702
                                                      Tel: 903-597-8311
                                                      Fax: 903-531-3939
                                                      mikejones@potterminton.com

                                                      Michael A. Berta
                                                      Michael.berta@apks.com
                                                      ARNOLD & PORTER
                                                      KAYE SCHOLER LLP
                                                      Three Embarcadero Center
                                                      10th Floor
                                                      San Francisco, CA 94111-4024
                                                      Tel: 415-471-3277

                                                      Nicholas Lee
                                                      Nicholas.lee@apks.com
                                                      ARNOLD & PORTER
                                                      KAYE SCHOLER LLP
                                                      777 South Figueroa Street
                                                      44th Floor
                                                      Los Angeles, CA 90017-5844
                                                      Tel: 213-243-4156

                                                      ATTORNEYS FOR DEFENDANT
                                                      ALIGNED DATA CENTERS, LLC




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 16, 2017, a true and correct copy of

the foregoing was served to the parties counsel of record via electronic mail pursuant to Local

Rule CV-5(d).

                                                     /s/ Michael E. Jones




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                Exhibit C
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 SWITCH, LTD.,
                      Plaintiff,
 v.

 ALIGNED DATA CENTERS LLC and                         CIVIL ACTION NO. 2:17-CV-574-JRG
 MTECHNOLOGY INC.,
                                                      JURY TRIAL DEMANDED
                      Defendants.

 ALIGNED DATA CENTERS, LLC,
 ALIGNED DATA CENTERS (DFW), LLC,
 and ALIGNED DATA CENTERS
 (PHOENIX), LLC,
                 Counterclaim-Plaintiffs,
 v.

 SWITCH, LTD.,
                       Counterclaim-Defendant.

                                              ORDER
      .
          Before the Court is the Parties’ Joint Motion to Dismiss Pursuant to Rule 41(a)(2) (Dkt.

No. 79). Having considered the Joint Motion, the Court finds that the Motion should be and

hereby is GRANTED. It is ORDERED that all claims by Switch against Aligned asserted in

Switch Ltd.’s First Amended Complaint (Dkt. No. 57), and all counterclaims by Aligned against

Switch asserted in Aligned’s Answer and Counterclaims (Dkt. No. 72) to that First Amended

Complaint are DISMISSED WITH PREJUDICE. The Clerk is directed to CLOSE this case.
      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 9th day of July, 2018.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE
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                Exhibit D
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Contact
                                        Sam Castor
www.linkedin.com/in/samcastor           Executive Vice President of Policy
(LinkedIn)                              Las Vegas, Nevada Area
www.supernap.com (Company)
www.innevation.com (Company)
www.switch.com (Company)                Summary
                                        I am a solutions finder, bridge builder and aggressive optimist.
Top Skills
                                        I specialize in conflict resolution, with karma based negotiation.
Intellectual Property
                                        Over the last ten (10) years, I have negotiated several hundreds
Telecommunications
                                        of telecom, power, and colocation deals, and multi-million a month
Civil Litigation
                                        contracts with Fortune 100 companies, governments and agencies. I
                                        resolved 15 trademark conflicts to Switch's favor, in 2018 alone. As
Languages
                                        a member of Switch's energy and sustainability team, I help blaze a
Romanian
                                        trail for Switch to secure 100% renewable energy for all of its data
                                        centers, worldwide.
Certifications
Communications Law Institute
(2009) CUA                              Specialties: Intellectual Property, Colocation, Telecom, Energy,
                                        Transactional, Entrepreneurial, Litigation, Regulatory, Trademarks,
Honors-Awards                           Copyrights
The Extra Mile Award


Publications                            Experience
Utah’s Child Protection Registry
Act: Protecting Children, Parents
                                        Switch
and . . . Pornographers?: Allowing      9 years 2 months
States to Participate In Balancing
First Amendment Protections with
                                        Executive Vice President of Policy
Parental Rights To Privacy and          January 2017 - Present (3 years 4 months)
Sovereignty in the Home.                Las Vegas, Nevada Area
Three Solid Tips to Avoid
Embarrasing Yourself When               Associate General Counsel, VP
Claiming Internet Copyright             March 2011 - January 2017 (5 years 11 months)
Infringement
                                        Las Vegas, Nevada area

                                        I assist Switch in all things legal, including energy sustainability, contract
                                        negotiation, intellectual property litigation and prosecution, protection and
                                        licensing, telecom, power and air quality regulatory compliance, human
                                        resource policy, strategy, legislative policy, complete commercial transactions,
                                        and litigation.


                                        The Rob Roy Innevation Center
                                        Director of InNEVation
                                        October 2011 - October 2013 (2 years 1 month)
                                                                             Page 1 of 4
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                     Las Vegas, Nevada Area

                     Privileged to be involved with Switch's karma driven efforts to diversify
                     Nevada's economic landscape by empowering innovation and encouraging
                     companies to relocate to Nevada. www.inNEVation.com


                     Alverson, Taylor
                     Associate
                     June 2009 - March 2011 (1 year 10 months)
                     Litigated medical malpractice/negligence suits while defending local hospitals,
                     doctors, and businesses.


                     Office of Science and Technology - EOP (White House)
                     Law Clerk - Policy Analyst Intern
                     August 2008 - March 2009 (8 months)
                     Under Presidents Bush and Obama, I researched and assisted in the drafting
                     of internet and communication policy. Specifically, I assisted in the refinement
                     of policies regarding telecommunications, ICANN and online child protection
                     laws with various federal agencies, including the Department of Justice, the
                     Department of Agriculture, the Federal Communications Commission, and
                     the Department of Commerce. I also handled all Freedom of Information Act
                     requests for the Office.


                     U.S. District Court, District of Nevada
                     Legal Extern
                     May 2008 - August 2008 (4 months)
                     Assisted Judge George and his career law clerks with criminal and civil case
                     loads, legal research and order drafting, for cases ranging from the Fair Credit
                     Reporting Act to Native American Contract law.


                     Akin Gump et. al. LLP
                     Law Clerk
                     January 2008 - May 2008 (5 months)
                     Handled emerging broadcast, wireless, radio and the Internet (i.e. Child
                     Online Privacy Protection Act compliance) regulatory issues for Disney, Cox,
                     Samsung etc. Maintained FCC license tickler.


                     Mobile Statellite Ventures
                     Legal Intern
                     August 2007 - December 2007 (5 months)



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                     Participated in International Telecommunications Union (ITU) and World Radio
                     Conference (WRC) preparation meetings. Compiled and summarized FCC
                     Notice of Inquiry (NOI), Notice of Proposed Rule Making (NPRM) comments,
                     and participating WRC country proposals. Plan to research and write trade
                     journal language for professional publication regarding hybrid satellite and
                     terrestrial cell phone technology and its role in the telecom industry and in the
                     WRC.


                     US Dept. of Agriculture
                     Law Clerk
                     April 2007 - August 2007 (5 months)
                     Office of the Assistant Administrator – Telecom
                     Compiled and summarized comments and draft responses for proposed rule
                     7 C.F.R. §1738 governing rural broadband loans; loans intended to increase
                     rural broadband service via multiple technologies in an attempt to raise the
                     United States’ internet access. Drafted responses to FCC NOIs and NPRMs.


                     Senator Orrin Hatch
                     Staff Assistant / L.C.
                     August 2005 - February 2006 (7 months)
                     Staff Assistant / Legislative Correspondent
                     Drafted hundreds of letters for Senator Hatch concerning a myriad of federal
                     issues in response to constituent inquiry. Handled incoming calls, specifically
                     regarding the Supreme Court nomination hearings of Chief Justice Roberts
                     and Justice Alito, and the hurricane Katrina/Rita disasters. Assisted in web-site
                     content maintenance.


                     Federal Communications Commission
                     Intern
                     May 2005 - August 2005 (4 months)
                     International Bureau Intern
                     One of two interns awarded a scholarship for the 1st month’s performance
                     and educational excellence. Assisted in publication and implementation of a
                     Public Hearing regarding satellite industry rule making. Drafted press releases
                     concerning frequency regulation and policy shifts. Organized and researched
                     outreach content for bureau web-site. Attended and participated in policy,
                     media and ITU meetings.




                     Education
                                                         Page 3 of 4
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                     The Catholic University of America, Columbus School of Law
                     J.D. Cum Laude, Communications Law · (2006 - 2009)


                     Brigham Young University
                     B.A., Communications · (1999 - 2005)


                     Provo High School
                     Honors Highschool, General Studies · (1994 - 1998)




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 1 Marc J. Randazza (NV Bar No. 12265)
   Ronald D. Green (NV Bar No. 7360)
 2
   Alex J. Shepard (NV Bar No. 13582)
 3 RANDAZZA LEGAL GROUP, PLLC
   4035 S. El Capitan Way
 4 Las Vegas, NV 89147
   Telephone: 702-420-2001
 5
   Facsimile: 305-437-7662
 6 ecf@randazza.com
 7 Attorneys for Defendants,
 8 Stephen Fairfax and MTechnology
 9                             UNITED STATES DISTRICT COURT
10                                   DISTRICT OF NEVADA
11
12 SWITCH, LTD.,                                  Case No.: 2:17-cv-2651
   a Nevada limited liability company,
13
14              Plaintiff,                        DEFENDANTS’ REQUEST FOR A PRETRIAL
                                                  CONFERENCE AND SUBMISSION OF
15       vs.                                      PROPOSED PROTECTIVE ORDER
16
   STEPHEN FAIRFAX; MTECHNOLOGY;
17 DOES 1 through 10; and ROE ENTITIES 11
   through 20, inclusive,
18
19              Defendants.

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        Defendants’ Request for a Pretrial Conference and Submission of Proposed Protective
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 1               DEFENDANTS’ REQUEST FOR A PRETRIAL CONFERENCE AND SUBMISSION OF
 2                                    PROPOSED PROTECTIVE ORDER
 3           Defendants Stephen Fairfax and MTechnology hereby request that this
 4 Court conduct a pretrial conference with respect to the parties’ competing
 5 proposed Protective Orders pursuant to LR 16-2. Counsel for the parties are unable
 6 to agree upon certain provisions of the Protective Order, and Defendants have
 7 concerns regarding the ways Plaintiff intends to use documents that Defendants
 8 designate as “Highly Confidential.” For this Court’s convenience, Defendants’
 9 proposed Protective Order is attached hereto as Exhibit A.
10           The parties have conducted at least two meet and confer conferences (on
11 August 23, 2019 and August 29, 2019)1 with general counsel for Switch, Ltd.
12 (“Switch”) to attempt to resolve their dispute. (See Declaration of Ronald Green,
13 at ¶ 4. Attached hereto as Exhibit B.) Neither conference was successful at
14 resolving the parties’ differences with respect to the language of the eventual
15 Protective Order in this case. (See id. at ¶ 5.) Court intervention is required.
16           Regarding Defendants’ concerns regarding Switch’s use of documents
17 obtained in discovery, the majority of the documents Plaintiff Switch is requesting

18 in this litigation are sensitive documents containing the trade secrets and detailed
19 design information of its biggest competitors. Switch has already informed
20 Plaintiffs and their counsel that it intends to use discovery in this case for the
21 improper purpose of “patent litigation” against at least one of those competitors.
22 The rest of the information about other competitors appears to be an attempt to
23 use the discovery process in lieu of industrial espionage.
24
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                 Defendants’ counsel has additionally engaged in at least two discussions regarding the
25 Protective Order with Piers Tueller, an attorney with Hutchison & Steffan that Switch has hired to
     interface with Defense counsel on discovery issues but will apparently not be appearing in this
26 case. Because he has not made an appearance, Defense counsel has asserted that Mr. Tueller
     does not have the ability to conduct meet and confer conferences as required by this Court’s
27 rules.
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 1        Switch should not be permitted to use discovery in this case to either fish for
 2 claims against third parties or to simply gain trade secrets that it could not
 3 otherwise obtain.
 4        Switch additionally insisted upon editing the categories of documents that
 5 Defendants may choose to designate as “Highly Confidential.” Among the
 6 documents that Switch insists Defendants cannot designate as “Highly
 7 Confidential” are documents that Defendants created or received pursuant to
 8 non-disclosure agreements. Again, many of these documents relate to Switch’s
 9 primary competitors, and Defendants are convinced (by Switch’s own words)
10 that Switch intends to use them for improper purposes not related to this litigation.

11        Switch has not been shy about its intent to use documents obtained in
12 discovery in this case against its competitors. It refused to include language in the
13 Protective Order that the parties are not allowed to use “Confidential” or “Highly
14 Confidential” material “to compete with the other Party or any third party” or “to
15 damage a Party’s relationship with any third party” or “to gain a competitive
16 advantage over the other Party… or any third party.” (See Defendants’ Proposed
17 Protective Order, attached as Exhibit A.) Moreover, the draft Protective Order it

18 submitted to this Court openly acknowledges that Switch is using this case to
19 obtain information about Aligned Data Centers, one of its primary competitors –
20 which is not a party to this litigation. Switch previously filed suit against Aligned
21 Data Centers in the U.S. District Court for the Eastern District of Texas. That action
22 was dismissed with prejudice, leaving this suit as Switch’s only way to obtain
23 information about Aligned’s data centers – but with its claims dismissed with
24 prejudice, it is unclear why Switch would even logically be able to defend its
25 desire to delve into Aligned’s trade secrets. It most cannot justify this legally.
26        During a meet and confer conference held between Sam Castor, counsel
27 for Switch, and Marc Randazza and Ronald Green, counsel for Defendants, on
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         Defendants’ Request for a Pretrial Conference and Submission of Proposed Protective
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 1 August 29, 2019, Mr. Castor said on two separate occasions that Switch needed
 2 discovery in this case to “substantiate” its “anticipated claims” ef against Aligned.
 3 (See id. at ¶ 6.) When Defense counsel informed him that it was improper for him
 4 to use discovery in this case to target third parties, Mr. Castor attempted to justify
 5 Switch’s intentions by misrepresenting that Switch had dismissed its claims against
 6 Aligned without prejudice and that it was refiling its suit against Aligned shortly.
 7 (See id. at ¶ 7.) In fact, all of the claims in that case were dismissed with prejudice.
 8 (See Order dismissing Case No. 2:17-CV-574-JRG, attached as Exhibit C.)
 9        In any event, if Switch wishes to sue Aligned (or any other party) the way
10 to do that is to sue that third party and seek discovery in that action. Federal

11 claims against Defendants are not to be used as a quasi “pure bill of discovery”
12 action against another party. However, the fact that Switch is admitting to this
13 abuse of process seems to illuminate the reason that this action was filed in the
14 first place. This is ostensibly a trade secret case – yet after nearly two years since
15 the filing of this case, Defendants have yet to learn precisely what trade secrets
16 were allegedly misappropriated.
17        LR 16-2 permits any party to request a pre-trial conference to expedite

18 disposition of any case. Here, the parties have been discussing the language of
19 a Protective Order for approximately two months. With a deadline for expert
20 discovery approaching in October of 2019, the parties need to resolve this issue,
21 and Defendants request that they be given the opportunity to discuss their issues
22 with Switch’s proposed Protective Order prior to the Court’s ruling upon which of
23 the competing Protective Orders will control discovery in this case.
24        Dated: September 3, 2019.                   Respectfully submitted,
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         Defendants’ Request for a Pretrial Conference and Submission of Proposed Protective
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 1
                                            /s/ Marc J. Randazza
 2                                          Marc J. Randazza (NV Bar No. 12265)
                                            Ronald D. Green (NV Bar No. 7360)
 3                                          Alex J. Shepard (NV Bar No. 13582)
 4                                          RANDAZZA LEGAL GROUP, PLLC
                                            4035 S. El Capitan Way
 5                                          Las Vegas, NV 89147
 6
                                            Attorneys for Defendants
 7                                          Stephen Fairfax and MTechnology

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 1                                                                    Case No. 2:17-cv-2651
 2                                 CERTIFICATE OF SERVICE
 3        I HEREBY CERTIFY that on September 3, 2019, I electronically filed the
 4 foregoing document with the Clerk of the Court using CM/ECF. I further certify
 5 that a true and correct copy of the foregoing document being served via
 6 electronic mail and U.S. Mail to the attorneys listed below:
 7
                                     Anne-Marie Birk, Esq.
 8                                    Samuel Castor, Esq.
                                           SWITCH, LTD.
 9                                   7135 S. Decatur Blvd.
10                                   Las Vegas, NV 89118
                                       sam@switch.com
11                                  scastor@switchlv.com
                                       abirk@switch.com
12
13                               F. Christopher Austin, Esq.
                                     WEIDE & MILLER, LTD.
14                           10655 W. Park Run Drive, Suite 100
                                    Las Vegas, NV 89144
15
                                 caustin@weidemiller.com
16
                              Attorney for Plaintiff, Switch, Ltd.
17
                                             Respectfully Submitted,
18
19                                           Crystal Sabala
                                             Employee,
20                                           Randazza Legal Group, PLLC
21
22
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        Defendants’ Request for a Pretrial Conference and Submission of Proposed Protective
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     Marc J. Randazza (NV Bar No. 12265)
 1
     Ronald D. Green (NV Bar No. 7360)
 2   Alex J. Shepard (NV Bar No. 13582)
     RANDAZZA LEGAL GROUP, PLLC
 3   2764 Lake Sahara Drive, Suite 109
 4   Las Vegas, NV 89117
     Telephone: 702-420-2001
 5   ecf@randazza.com

 6 Attorneys for Defendants
 7 Stephen Fairfax and MTechnology
 8                            UNITED STATES DISTRICT COURT
 9                                DISTRICT OF NEVADA
10
   SWITCH, LTD.,                               Case No.: 2:17-cv-02651-GMN-VCF
11 a Nevada limited liability company,
12
                Plaintiff,                     DECLARATION OF RONALD D. GREEN
13
          vs.
14
   STEPHEN FAIRFAX; MTECHNOLOGY;
15
   DOES 1 through 10; and ROE ENTITIES 11
16 through 20, inclusive,
17              Defendants.
18
19        I, Ronald D. Green, Jr., under penalty of perjury, hereby declare as follows:
20        1.    I am a partner at the law firm Randazza Legal Group, PLLC and
21 counsel for Defendants MTechnology (“MTech”) and Stephen Fairfax in the
22 above-referenced matter.
23        2.    I am over the age of 18 and I make the statements in this declaration
24 pursuant to my own first-hand knowledge and would be competent to testify to
25 the statements made therein.
26
27
28                                          -1-
                               Declaration of Ronald D. Green
                                  2:17-cv-02651-GMN-VCF
      Case
       Case2:17-cv-02651-GMN-EJY
             2:17-cv-02651-GMN-EJYDocument
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                                                       04/09/20
                                                         09/03/19Page
                                                                  Page973of
                                                                          of125
                                                                             3




 1        3.     Plaintiff Switch, Ltd. (“Switch”) and Defendants MTech and Mr. Fairfax
 2 differ on the appropriate contents of the eventual protective order that will
 3 govern this case.
 4        4.     The parties have attempted in good faith to resolve these differences
 5 by conducting two meet and confer conferences on August 23, 2019 and August
 6 29, 2019.
 7        5.     Despite these attempts, the parties have been unable to resolve their
 8 differences, necessitating the intervention of this Court.
 9        6.     During the meet and confer conference on August 29, 2019, Sam
10 Castor, in-house counsel for Switch, said on two separate occasions that Switch

11 needed discovery in this case to “substantiate” its anticipated claims against
12 Aligned Data Centers, one of Switch’s primary competitors.
13        7.     Mr. Castor additionally misrepresented that Switch had dismissed its
14 claims against Aligned Data Centers in the U.S. District Court for the Eastern District
15 of Texas without prejudice. However, those claims were dismissed with prejudice.
16        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
17 foregoing is true and correct.

18
19        Executed on: 3rd day of September, 2019.
20
                                                         /s/ Ronald D. Green
21                                                       Ronald D. Green. Esq.

22
23
24
25
26
27
28                                           -2-
                                Declaration of Ronald D. Green
                                   2:17-cv-02651-GMN-VCF
Case 2:17-cv-02651-GMN-EJY Document 71-1 Filed 04/09/20 Page 98 of 125




                Exhibit G
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                Exhibit H
           Case 2:17-cv-02651-GMN-EJY Document 71-1 Filed 04/09/20 Page 108 of 125


Johnson, Andrew C.

From:                           Farris, Joseph
Sent:                           Monday, November 4, 2019 3:47 PM
To:                             Sam Castor
Cc:                             Jacob A. Reynolds; Anne-Marie Birk; Tanya Paonessa; Feather Lake; Kevin Everage; Emily
                                Shaevitz; Berta, Michael A.
Subject:                        RE: Switch subpoena of JLL (Fairfax)



Counsel,

Thank you for your correspondence. It confirms what was discussed at the meet and confer, which is that
Switch is seeking information through third party discovery unrelated to the claims pleaded in the underlying
matter versus Mr. Fairfax. Discovery into an alleged current “nexus” between JLL, Aligned, and Mr. Fairfax
bears no relation to the claim against Mr. Fairfax that he disclosed alleged trade secret information to Aligned
seven years ago before that same information became public in Switch patent filings. Consistent with this,
you have been unable to state any basis as to how JLL has anything to do with that alleged incident or
disclosure. Nor do you plead any such facts regarding how JLL could have been involved in any such incident
in the complaint against Mr. Fairfax.

Rather, as you confirmed, you are seeking discovery related to a patent infringement matter against Aligned,
based on your speculation that JLL may have liability for “contributory patent infringement” in that matter. As
was discussed, JLL disagrees with that claim. More importantly, however, that patent case against Aligned
was dismissed. And it has nothing to do with this matter. It is therefore plain that this subpoena was not
served for a proper purpose and violates Rule 26.

JLL also understands that Switch has openly stated that it using third party discovery in this case to look for
evidence that it can use to support possible patent claims against third parties. As Defendants wrote in their
Request for a Pretrial Conference (ECF No. 48 at 2): “Switch has already informed Plaintiffs [sic] and their
counsel that it intends to use discovery in this case for the improper purposes of ‘patent litigation’ against at
least one of those competitors.” According to the Defendants, you personally stated that Switch needed that
third party discovery to “substantiate” “anticipated claims” against Aligned on two separate occasions. Id. at
4.

In light of your previous statements and those facts, during our meet and confer I asked you to explain why
the discovery was sought for a proper purposes, but you could not. Rather, you again confirmed that the
purpose of the discovery was test whether JLL might have liability to Switch. Nor do you identify a proper
purpose for the subpoena in your email below, which does not even attempt to articulate how the
information sought relates to your theory of the case against the Defendants. It is not nearly enough to make
the utterly non-specific assertion there is a “clear nexus” or that JLL “involved in the facts of the case,” as you
do below.

Finally, your email does not accurately reflect the meet and confer conversation as to why the subpoena is
improper. JLL is not objecting because it is “afraid” that Switch will “sue [it] too.” You were informed that
there is caselaw that quite clearly establishes that third party discovery is not meant to be a means to
investigate possible claims against third parties. That is an accurate statement of the law, and I’m surprised if
you would contend otherwise. See, e.g., Farmer v. Senior Home Companions of Indiana, Inc., No. 1:08-CV-
                                                         1
          Case 2:17-cv-02651-GMN-EJY Document 71-1 Filed 04/09/20 Page 109 of 125
0379-DFH-JMS, 2009 WL 564193, at *3 (S.D. Ind. Mar. 5, 2009) (“[I]t is improper to use third-party discovery . .
. as a vehicle for Plaintiff to pursue other potential claims. ‘The discovery rules are designed to assist a party
to prove a claim it reasonably believes to be viable without discovery, not to find out if it has any basis for a
claim.’”) (citing Micro Motion, Inc. v. Kane Steel Co., 894 F.2d 1318, 1327 (Fed. Cir. 1990) (“The discovery rules
are designed to assist a party to prove a claim it reasonably believes to be viable without discovery, not to find
out if it has any basis for a claim . . . . While the expression ‘fishing expedition’ has been generally denigrated
as a reason for objecting to discovery, in some situations, such as the one at hand, it remains apt.”).

Finally, in a review of the docket in the Switch/Fairfax matter, it is clear that Plaintiff has not sought or
obtained any discovery from the Defendants in the actual matter. This is quite far from the situation as you
represented it in the meet and confer. Given the significant expense entailed by searches through company
email and the fact that Switch has not actually sought and obtained any of this discovery from the parties in
the case, this burden should not fall on JLL as third party. In addition, here, the discovery to JLL almost
exclusively seeks information about Aligned which, as JLL understands it, is a direct competitor to Switch. The
fact that Switch is seeking current correspondence between JLL and its customer, which has nothing
conceivable to do with some alleged act by Mr. Fairfax almost ten years ago, raises the inference that Switch is
seeking sensitive competitive information for an improper purpose. The fact that Switch internal corporate
officers are directly seeking this information only heightens the risk.

Based on the foregoing, I don’t know if further discussion of this matter is necessary, but we can be available if
you think there is more to say about your basis for believing that the subpoena is proper.

Thanks,
Joe
_______________
Joseph Farris
Arnold & Porter
Three Embarcadero Center | 10th Floor | San Francisco | CA 94111-4024
T: +1 415.471.3454 | F: +1 415.471.3400
joseph.farris@arnoldporter.com | www.arnoldporter.com


From: Sam Castor <sam@switch.com>
Sent: Monday, November 4, 2019 11:47 AM
To: Farris, Joseph <Joseph.Farris@arnoldporter.com>
Cc: Jacob A. Reynolds <JReynolds@hutchlegal.com>; Anne-Marie Birk <abirk@switch.com>; Tanya Paonessa
<tpaonessa@switch.com>; Feather Lake <feather@switch.com>; Kevin Everage <keverage@switch.com>; Emily Shaevitz
<eshaevitz@switch.com>; Berta, Michael A. <Michael.Berta@arnoldporter.com>
Subject: RE: Switch subpoena of JLL (Fairfax)

External E-mail

Thank you. Just following up.

If I don’t get an answer today, we’ll proceed with a motion to compel as we have already met and conferred on this.




                                                           2
          Case 2:17-cv-02651-GMN-EJY Document 71-1 Filed 04/09/20 Page 110 of 125
                  SAM CASTOR
                  EVP OF POLICY
                  DEPUTY GENERAL COUNSEL

                  o   +1 (702) 444-4102
                  m   +1 (702) 371-0724
                  e   sam@switch.com
                  +   Switch e-card
                  We use e-cards to reduce waste of natural resources and promote sustainability.




From: Farris, Joseph <Joseph.Farris@arnoldporter.com>
Sent: Friday, November 1, 2019 3:49 PM
To: Sam Castor <sam@switch.com>
Cc: Jacob A. Reynolds <JReynolds@hutchlegal.com>; Anne-Marie Birk <abirk@switch.com>; Tanya Paonessa
<tpaonessa@switch.com>; Feather Lake <feather@switch.com>; Kevin Everage <keverage@switch.com>; Emily Shaevitz
<eshaevitz@switch.com>; Berta, Michael A. <Michael.Berta@arnoldporter.com>
Subject: RE: Switch subpoena of JLL (Fairfax)

Sam,

Mike is not in the office today. We’re reviewing your email and will get back to you after the weekend.

Thanks,
Joe

_______________
Joseph Farris
Arnold & Porter
Three Embarcadero Center | 10th Floor | San Francisco | CA 94111-4024
T: +1 415.471.3454 | F: +1 415.471.3400
joseph.farris@arnoldporter.com | www.arnoldporter.com


From: Sam Castor <sam@switch.com>
Sent: Thursday, October 31, 2019 10:02 AM
To: Berta, Michael A. <Michael.Berta@arnoldporter.com>; Farris, Joseph <Joseph.Farris@arnoldporter.com>
Cc: Jacob A. Reynolds <JReynolds@hutchlegal.com>; Anne-Marie Birk <abirk@switch.com>; Tanya Paonessa
<tpaonessa@switch.com>; Feather Lake <feather@switch.com>; Kevin Everage <keverage@switch.com>; Emily Shaevitz
<eshaevitz@switch.com>
Subject: RE: Switch subpoena of JLL (Fairfax)

External E-mail

Michael/Joseph,

I have yet to hear from you. Please let me know if you agree or disagree by tomorrow.




                                                                        3
          Case 2:17-cv-02651-GMN-EJY Document 71-1 Filed 04/09/20 Page 111 of 125
                  SAM CASTOR
                  EVP OF POLICY
                  DEPUTY GENERAL COUNSEL

                  o   +1 (702) 444-4102
                  m   +1 (702) 371-0724
                  e   sam@switch.com
                  +   Switch e-card
                  We use e-cards to reduce waste of natural resources and promote sustainability.




From: Sam Castor
Sent: Wednesday, October 30, 2019 1:57 PM
To: 'Michael.Berta@arnoldporter.com' <Michael.Berta@arnoldporter.com>; Joseph.Farris@arnoldporter.com
Cc: 'Jacob A. Reynolds' <JReynolds@hutchlegal.com>; Anne-Marie Birk <abirk@switch.com>; Tanya Paonessa
<tpaonessa@switch.com>; Feather Lake <feather@switch.com>; Kevin Everage <keverage@switch.com>; Emily Shaevitz
<eshaevitz@switch.com>
Subject: Switch subpoena of JLL (Fairfax)
Importance: High

Michael/Joseph,

Thank you for the meet and confer conversation a few days ago. I look forward to resolving this issue rapidly
and efficiently.


   1. Case Law

As discussed, I would appreciate you sharing the case law you said you had that supports your contention that
it is improper for us to seek discovery from third parties involved in the facts of a case, because “you are afraid
we will sue you too.” Feel free to correct me if I misunderstood your position, or send along case law that
justifies that position.

And again, for clarity, we maintain this is not a “fishing expedition”, but rather a reasonable discovery exercise
to evaluate what we view as a clear nexus between JLL, Fairfax and Aligned. Rule 26 of the FRCP is clear. We
are entitled to “obtain discovery regarding any non-privilege matter that is relevant” to our claims. And
“[i]nformation within this scope of discovery need not be admissible in evidence to be discoverable.”

Given the relationship between JLL, Fairfax, and Aligned, there is more than a sufficient factual nexus to justify
discovery and the reasonableness of our subpoena requests. As such, I expect revised responses with all
documents by November 30th.

   2. Your Non-Responsive Answers to Our Subpoena

As for the individual requests to which you have refused to provide a single document, my goal is
reasonableness and efficiency for both sides. I am open to exploring search terms, and discussing hit results
as long as you get them back to me by November 14th.

For requests 1 through 7, you use the same boilerplate objection that contains essentially four (4) sub parts:
(1) “the request seeks discovery that is properly obtained from the parties to this action”; (2) “is not
                                                                        4
          Case 2:17-cv-02651-GMN-EJY Document 71-1 Filed 04/09/20 Page 112 of 125
reasonably limited in time or in subject matter”; (3) “is not reasonably limited in subject matter” and (4)
“expressly calls for the production of confidential and trade secret information.” I address each in turn below.

   1. The objection that we can “obtain the information from another party” is not a valid objection. We are
       entitled to compare and contrast discovery productions to verify accuracy and completeness. There
       are also emails/documents only your client would likely have.

   2. As for the “reasonably limited in time” objection, such an objection would be appropriate if any of the
       requests lacked a date reference but these do not. Each of the requests uses the date range January 1,
       2011 to the present. This is a reasonable date range. It is less than ten years. And the facts at issue
       arose in early 2011 and again in 2015 and again in 2018. Communications between your client and
       Fairfax, and the other witnesses in this case are presumably ongoing. Additionally, this matter involves
       hundreds of millions of dollars of contracts and intellectual property. As such, we are entitled to this
       widow, as it is “proportional to the needs of the case”.

   3. Lastly, the requests are reasonably limited in subject matter. They all pertain to communications
       between Switch and another entity (namely, Inertech, Uber, eBay, PayPal, Aligned, and Aligned
       Energy).

   4. None of the requests “expressly call for the production of confidential and trade secret
       information”. However, I am open to you labeling all information that you deem confidential or a
       trade secret as “Confidential Attorneys Eyes Only” and we will treat it accordingly. I trust this resolves
       your concerns.

After our discussion, and reviewing these requests yet again, I am very concerned by these weak responses
and I am hard pressed not to argue your objections are waived. I appreciate we’re all human. And I am
seeking production, not a discovery battle. So I will forestall a motion to compel if I receive revised and
complete responses by November 29, 2019. The requests and your objections are attached and the requests
are embedded below for your convenience. If you would like to provide hit results by November 14th, so we
can discuss narrowing of search terms, I am also open to that discussion, provided all production occurs by
November 29, 2019.

Thank you again.




DOCUMENTS REQUESTED
1.     All communications with any employee, officer, or representative of MTechnology, including Stephen
Fairfax, including but not limited to, emails to or from addressees ending with the address
“@mtechnology.net”) from January 1, 2011 to present, regarding Switch.
2.     All communications with any employee, officer, or representative of Inertech from January 1, 2011 to
present, regarding Switch.
3.     All communications with any employee, officer, or representative of Uber from January 1, 2011 to
present, regarding Switch.
4.     All communications with any employee, officer, or representative of eBay from January 1, 2011 to
present, regarding Switch.
                                                        5
               Case 2:17-cv-02651-GMN-EJY Document 71-1 Filed 04/09/20 Page 113 of 125
5.    All communications with any employee, officer, or representative of PayPal from January 1, 2011 to
present, regarding Switch.
6.    All communications with any employee, officer, or representative of Aligned from January 1, 2011 to
present, regarding Switch.
7.    All communications with any employee, officer, or representative of Aligned Energy from January 1,
2011 to present, regarding Switch.


CONFIDENTIAL INFORMATION

This email message, its chain, and any attachments: (a) may include proprietary information, trade secrets, pending patents,
confidential information and/or other protected information ("Confidential Information") which are hereby labeled as "Confidential"
for protection purposes, (b) is sent to you in confidence with a reasonable expectation of privacy, (c) may be protected by
confidentiality agreements requiring this notice and/or identification, and (d) is not intended for transmission to, or receipt by
unauthorized persons. Your retention or possession will be viewed as your consent to the foregoing and covenant to comply with
Switch's then current acceptable use policy available at www.switch.com/aup. If you are not the intended recipient, (i) please notify
the sender immediately by telephone or by replying to this message and (ii) then delete this message, any attachments, chains,
copies or portions from your system(s). Retention of this email and the associated data constitutes valid consideration and your
consent, agreement and covenant to abide by the foregoing terms.




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                                                                                  6
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                  Exhibit I
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                                                                             Michael A. Berta
                                                                             +1 415.471.3277 Direct
                                                                             Michael.Berta@arnoldporter.com




                                                          March 18, 2020


     VIA E-MAIL

     Sam Castor
     Switch, Ltd.
     7135 S. Decatur Blvd.
     Las Vegas, NV 89118

             Re:      Switch, Ltd. v. Fairfax, et al.,

     Dear Mr. Castor:

             We represent Jones Lange LaSalle, Inc. (“JLL Inc.”). On Friday March 13, we
     received an email from Ms. Tanya Paonessa of Switch, Ltd. (“Switch”) indicating that
     today Switch intends to file a motion to compel concerning Switch’s subpoena to JLL
     Inc. of July 2019. We were surprised to receive this notice out of nowhere late last week
     after not hearing a word about this matter from Switch for over four months. As you
     know, the parties were in the process of meeting and conferring in October and early
     November 2019 when Switch ceased all communications on the matter. Our records
     show that our last communication with Switch was an email from our office to you on
     November 4, 2019, which explained our objections in more detail and offered to continue
     discussions.1 At that time, we were expecting Switch to make a proposal to narrow the
     document requests in the subpoena, but we never received one. Given the current
     worldwide circumstances, we have not even had the opportunity to fully confer with our
     client about Switch’s renewed request and demand for immediate action.

              As we explained last fall, JLL Inc. has serious concerns about the subpoena, and
     particularly Switch’s expressly-stated improper purpose for issuing the subpoena, which
     is to investigate “patent litigation” claims against third parties, such as JLL Inc. and its


     1
       We note that the draft motion to compel attached to Ms. Paonessa’s email states that Switch “followed
     up” on its proposal regarding the use of search terms twice, and that “JLL did not respond,” but we have no
     record of any such communication after our email of November 4, 2019. If you believe that is incorrect,
     please let us know. (The motion to compel also states that a draft of the motion was provided to us on
     February 12, 2020, but we have no record of that either.).

Arnold & Porter Kaye Scholer LLP
Three Embarcadero Center, 10th Floor | San Francisco, CA 94111-4024 | www.arnoldporter.com
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Sam Castor
March 18, 2020
Page 2

customer Aligned Data Centers (“Aligned”).2 When we outlined those concerns for you
in our last email on the subject, you did not respond or provide any additional
information to address them.

        Switch’s trade secret misappropriation claim against Defendants Fairfax and
MTechnology in the present action is based on the allegation that Fairfax/MTechnology
“toured” Switch facilities in 2011 and at that time obtained some unspecified trade
secrets, which were later provided to Aligned at unspecified time(s). As you know, in
2017, Switch previously sued Aligned for patent infringement (based on patents that
issued in 2011, 2012, and 2017) in the Eastern District of Texas based on the exact same
factual allegations concerning Fairfax making disclosures to Aligned. Switch voluntarily
dismissed that case after Aligned counterclaimed seeking to invalidate Switch’s patents
and asserting separate claims for violation of the Lanham Act, tortious interference, and
business disparagement.

        The sweeping document requests in Switch’s subpoena to JLL Inc. clearly reflect
an attempt to get a second bite at the apple in Switch’s failed patent litigation against
Aligned. The requests are not narrowly tailored to seek information relevant to Switch’s
present trade secret case against Fairfax/MTechnology, which would necessarily involve
information that was specifically disclosed by Fairfax to Aligned and which is also non-
public “trade secret” information that was not disclosed in the patents asserted against
Aligned. The subpoena make no effort to account for those necessary limitations, and
instead makes a blanket demand for production of all of JLL Inc.’s communications with
Defendants and six other third parties “from January 1, 2011 to the present regarding
Switch.”

       Further, Switch’s draft motion to compel does not indicate that any new
development in the case over the past four months now justifies seeking this information
from JLL Inc. as a third party, rather than from Defendants Fairfax/MTechnology. Quite
the opposite—Switch simply says that “[d]iscovery from Defendants has proceeded
slowly” and implies that this should somehow excuse it from its obligation to seek
discovery first from Fairfax/MTechnology. It does not. Rather, this confirms that the
alleged “nexus” of JLL Inc. to this matter remains purely speculative.
2
  As Defendants wrote in their Request for a Pretrial Conference (ECF No. 48 at 2): “Switch has already
informed Plaintiffs [sic] and their counsel that it intends to use discovery in this case for the improper
purposes of ‘patent litigation’ against at least one of those competitors.” According to the Defendants, you
personally stated that Switch needed that third party discovery to “substantiate” “anticipated claims”
against Aligned on two separate occasions. Id. at 4.
Case 2:17-cv-02651-GMN-EJY Document 71-1 Filed 04/09/20 Page 117 of 125




Sam Castor
March 18, 2020
Page 3


       If Switch makes a proposal to narrow the document requests to tailor them to seek
properly discoverable information in the trade secret case against Fairfax/MTechnology,
we are still willing consider a reasonable compromise to resolve our dispute about the
subpoena. To date, you have ignored our invitation to do that.

        Finally, although we would prefer to avoid motion practice concerning the
subpoena, in the event it is necessary, please be advised that Switch’s draft motion to
compel seeks to enforce compliance with the subpoena in the improper court (the District
of Nevada). JLL Inc. is based in Chicago, Illinois and does not regularly transact
business in Nevada. While JLL Inc. does have at least one subsidiary that conducts
certain operations in Las Vegas, Nevada, JLL Inc. does not do so itself. As such, the
location for compliance specified in the subpoena is improper. FRCP 45(c)(2)(A).
Should Switch proceed with filing a motion to compel compliance with the subpoena, the
proper court to hear the motion would be the Northern District of Illinois, which should
have been the location for compliance specified in the subpoena. FRCP 45(d).

         Please let us know when you are available to discuss the matters addressed in this
letter directly to see if the parties can reach a resolution.


                                             Sincerely,



                                             Michael A. Berta
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                  Exhibit J
           Case 2:17-cv-02651-GMN-EJY Document 71-1 Filed 04/09/20 Page 119 of 125


Johnson, Andrew C.

From:                             Farris, Joseph
Sent:                             Friday, March 20, 2020 1:51 PM
To:                               Sam Castor
Cc:                               Tanya Paonessa; Policy; Berta, Michael A.
Subject:                          RE: Switch, Ltd. v. Stephen Fairfax, et al. - Subpoena DT to JLL


Sam,

We fail to see how the delay of over four months without hearing a word from your side or your claimed lack of progress
taking discovery from the defendants is JLL Inc.’s responsibility as a third party.

As the party propounding a subpoena to a third party, Switch needs to show that the subpoena is tailored to seek
relevant information. As we’ve explained multiple times, Switch has not done so. In fact, the draft motion to compel
reflects nothing but sheer speculation that Fairfax/MTechnology may have disclosed some undefined trade secret
information to JLL Inc.’s business partners. This confirms that JLL Inc. is rightly concerned about the improper purpose
of the subpoena.

These concerns are only heightened because the requests for all information “regarding Switch” clearly call for the
production confidential information related to at least Aligned Data Centers—a company that is directly competitive to
Switch by Switch’s own admissions in its pleadings, and which Switch has unsuccessfully sued before in another litigation
that you personally directed. And given that the Protective Order in this case expressly allows disclosure of all
information to you, it does not mitigate any of JLL’s concerns.

Your continued focus on demanding search term results ignores all of these concerns, and is not productive. If Switch
insists upon filing a motion compel after months of silence, without ever having provided a substantive response to JLL
Inc.’s concerns, it is your prerogative, but we believe Switch should instead make a propose to narrow the
subpoena. Per our letter, if you do file such a motion, the proper court is the Northern District of Illinois.

Thanks,
Joe

From: Sam Castor <sam@switch.com>
Sent: Wednesday, March 18, 2020 5:39 PM
To: Farris, Joseph <Joseph.Farris@arnoldporter.com>
Cc: Tanya Paonessa <tpaonessa@switch.com>; Policy <policy@switch.com>; Berta, Michael A.
<Michael.Berta@arnoldporter.com>
Subject: Re: Switch, Ltd. v. Stephen Fairfax, et al. - Subpoena DT to JLL

External E-mail

Joseph,

Your last response to us was that you were simply refusing to provide anything. The delay is due to your non-
responsiveness and other discovery not progressing in this matter, including from the defendants.

Please provide responses by this Friday or we will file a motion to compel. A simple, “it’s too broad and we’re not going
to answer” response (like the first time) is not going to work here. We’ve already had repeated substantive discussion.

                                                             1
          Case 2:17-cv-02651-GMN-EJY Document 71-1 Filed 04/09/20 Page 120 of 125
Absent at least search term results and some production, we will file the motion to compel.



Sent from my phone - please excuse brevity and typos.




                          SAM CASTOR
                          EVP OF POLICY
                          DEPUTY GENERAL COUNSEL

                         o   +1 (702) 444-4102
                         m   +1 (702) 371-0724
                         e   sam@switch.com
                         +   Switch e-card
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        On Mar 18, 2020, at 2:18 PM, Farris, Joseph <Joseph.Farris@arnoldporter.com> wrote:



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        Ms. Paonessa,

        Please see a letter from Mr. Berta to Sam Castor’s attention attached, in response to your email from
        last Friday.

        Thanks,
        Joe
        _______________
        Joseph Farris
        Arnold & Porter
        Three Embarcadero Center | 10th Floor | San Francisco | CA 94111-4024
        T: +1 415.471.3454 | F: +1 415.471.3400
        joseph.farris@arnoldporter.com | www.arnoldporter.com




        From: Tanya Paonessa <tpaonessa@switch.com>
        Sent: Friday, March 13, 2020 6:13 PM
        To: Berta, Michael A. <Michael.Berta@arnoldporter.com>; Farris, Joseph
        <Joseph.Farris@arnoldporter.com>
        Cc: Policy <policy@switch.com>
        Subject: Switch, Ltd. v. Stephen Fairfax, et al. - Subpoena DT to JLL

                                                                    2
    Case 2:17-cv-02651-GMN-EJY Document 71-1 Filed 04/09/20 Page 121 of 125

 External E-mail

Counsel,

Attached please find our Motion to Compel. Please be advised that we will proceed with filing on
Wednesday, March 18th, if we do not hear from you.

Thank you,




<image001.jpg>            TANYA PAONESSA
                          LITIGATION PARALEGAL

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                        m    702-370-6247
                        e    tpaonessa@switch.com
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Johnson, Andrew C.

Subject:                                RE: Switch, Ltd. v. Stephen Fairfax, et al. - Subpoena DT to JLL




From: Sam Castor <sam@switch.com>
Sent: Friday, March 20, 2020 5:56 PM
To: Farris, Joseph <Joseph.Farris@arnoldporter.com>
Cc: Tanya Paonessa <tpaonessa@switch.com>; Policy <policy@switch.com>; Berta, Michael A.
<Michael.Berta@arnoldporter.com>
Subject: Re: Switch, Ltd. v. Stephen Fairfax, et al. - Subpoena DT to JLL

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Joseph,

We have sufficient of evidence of JLL’s activity in Nevada. The proper venue is NV.

We have clarified the scope in discussions. It’s not overbroad. It is tailored. And it is reasonable. I recognize it is a little
crazy right now. I empathize with that. And you’re refusal to comply existed LONG before the current events.

I hope you and your family are ok, and please understand that given your approach, we’re filing the motion to compel.



                    SAM CASTOR
                    EVP OF POLICY
                    DEPUTY GENERAL COUNSEL

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From: "Farris, Joseph" <Joseph.Farris@arnoldporter.com>
Date: Friday, March 20, 2020 at 1:51 PM
To: Samuel Castor <sam@switch.com>
Cc: Tanya Paonessa <tpaonessa@switch.com>, Policy <policy@switch.com>, "Berta, Michael A."
<Michael.Berta@arnoldporter.com>
Subject: RE: Switch, Ltd. v. Stephen Fairfax, et al. - Subpoena DT to JLL

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Sam,

                                                                         1
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We fail to see how the delay of over four months without hearing a word from your side or your claimed lack of progress
taking discovery from the defendants is JLL Inc.’s responsibility as a third party.

As the party propounding a subpoena to a third party, Switch needs to show that the subpoena is tailored to seek
relevant information. As we’ve explained multiple times, Switch has not done so. In fact, the draft motion to compel
reflects nothing but sheer speculation that Fairfax/MTechnology may have disclosed some undefined trade secret
information to JLL Inc.’s business partners. This confirms that JLL Inc. is rightly concerned about the improper purpose
of the subpoena.

These concerns are only heightened because the requests for all information “regarding Switch” clearly call for the
production confidential information related to at least Aligned Data Centers—a company that is directly competitive to
Switch by Switch’s own admissions in its pleadings, and which Switch has unsuccessfully sued before in another litigation
that you personally directed. And given that the Protective Order in this case expressly allows disclosure of all
information to you, it does not mitigate any of JLL’s concerns.

Your continued focus on demanding search term results ignores all of these concerns, and is not productive. If Switch
insists upon filing a motion compel after months of silence, without ever having provided a substantive response to JLL
Inc.’s concerns, it is your prerogative, but we believe Switch should instead make a propose to narrow the
subpoena. Per our letter, if you do file such a motion, the proper court is the Northern District of Illinois.

Thanks,
Joe

From: Sam Castor <sam@switch.com>
Sent: Wednesday, March 18, 2020 5:39 PM
To: Farris, Joseph <Joseph.Farris@arnoldporter.com>
Cc: Tanya Paonessa <tpaonessa@switch.com>; Policy <policy@switch.com>; Berta, Michael A.
<Michael.Berta@arnoldporter.com>
Subject: Re: Switch, Ltd. v. Stephen Fairfax, et al. - Subpoena DT to JLL

External E-mail

Joseph,

Your last response to us was that you were simply refusing to provide anything. The delay is due to your non-
responsiveness and other discovery not progressing in this matter, including from the defendants.

Please provide responses by this Friday or we will file a motion to compel. A simple, “it’s too broad and we’re not going
to answer” response (like the first time) is not going to work here. We’ve already had repeated substantive discussion.

Absent at least search term results and some production, we will file the motion to compel.



Sent from my phone - please excuse brevity and typos.




                           SAM CASTOR
                           EVP OF POLICY
                           DEPUTY GENERAL COUNSEL

                                                            2
  Case 2:17-cv-02651-GMN-EJY Document 71-1 Filed 04/09/20 Page 124 of 125

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<image001.jpg>     TANYA PAONESSA
                                                             3
               Case 2:17-cv-02651-GMN-EJY Document 71-1 Filed 04/09/20 Page 125 of 125
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